                Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                                Page 1 of 119 PageID 216




   Extraction Report - Cellebrite Reports


Participants
+14782346277
white Wayne *
4782346277
white Wayne *




Conversation - Instant Messages (204)


     From: +14782346277 white Wayne

     Sup foo
     Status: Read

                                        1/8/2021 12:23:51 PM(UTC-6)


   Source Extraction:
   Advanced Logical




                                                                              To: +14782346277 white Wayne

                                                                              Wats up fooley

                                                                                  Participant          Delivered        Read    Played
                                                                                  +14782346277 white
                                                                                  Wayne


                                                                              Status: Sent

                                                                                                                   1/8/2021 12:24:23 PM(UTC-6)


                                                                            Source Extraction:
                                                                            Advanced Logical




     From: +14782346277 white Wayne

     Be ready tomorrow what you working wit
     Status: Read

                                        1/8/2021 12:25:51 PM(UTC-6)


   Source Extraction:
   Advanced Logical




     From: +14782346277 white Wayne

     The last was good they didn't like the color tho
     Status: Read

                                              1/8/2021 12:26:16 PM(UTC-6)


   Source Extraction:
   Advanced Logical




                  App._0050                                                                                            USA Prod_000178           1
             Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277        2 of 119 PageID 217
                                                                       white Wayne

                                                                   Ok so you don't want that same cd

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/8/2021 12:28:38 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Nah
  Status: Read

                                   1/8/2021 12:29:22 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Ok I got ya

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/8/2021 12:29:47 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   We good

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/8/2021 12:30:01 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Ok
  Status: Read

                                   1/8/2021 12:30:21 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0051                                                                                    USA Prod_000179           2
             Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                     Page 3 of 119 PageID 218
  What's the new look like?
  Status: Read

                                   1/8/2021 2:16:36 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                  To: +14782346277 white Wayne

                                                                  Mean green cd Master P

                                                                      Participant           Delivered      Read     Played
                                                                      +14782346277 white
                                                                      Wayne


                                                                  Status: Sent

                                                                                                        1/8/2021 2:19:36 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




  From: +14782346277 white Wayne

  Come on wit it...
  Status: Read

                                   1/8/2021 2:20:34 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                  To: +14782346277 white Wayne

                                                                  When talking bout today

                                                                      Participant           Delivered      Read     Played
                                                                      +14782346277 white
                                                                      Wayne


                                                                  Status: Sent

                                                                                                        1/8/2021 2:24:32 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




  From: +14782346277 white Wayne

  On you
  Status: Read

                                   1/8/2021 2:25:06 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0052                                                                                   USA Prod_000180           3
             Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277        4 of 119 PageID 219
                                                                       white Wayne

                                                                  Ok I'll let you know in a little while

                                                                      Participant            Delivered        Read     Played
                                                                      +14782346277 white
                                                                      Wayne


                                                                  Status: Sent

                                                                                                           1/8/2021 2:32:24 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




  From: +14782346277 white Wayne

  Ok
  Status: Read

                                   1/8/2021 2:35:57 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  Gotta look Good bratha
  Status: Read

                                   1/8/2021 2:36:17 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                  To: +14782346277 white Wayne

                                                                  You gone be around early

                                                                      Participant            Delivered        Read     Played
                                                                      +14782346277 white
                                                                      Wayne


                                                                  Status: Sent

                                                                                                           1/8/2021 7:32:09 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




  From: +14782346277 white Wayne

  Possibly pretty sure tho
  Status: Read

                                   1/8/2021 7:32:35 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0053                                                                                      USA Prod_000181           4
             Case 3:21-cv-01788-X Document 34-7 Filed  04/05/22whitePage
                                                 To: +14782346277   Wayne 5 of 119 PageID 220

                                                                      Ok cool you gone have me waiting like last time

                                                                          Participant                  Delivered       Read      Played
                                                                          +14782346277 white
                                                                          Wayne


                                                                      Status: Sent

                                                                                                                      1/8/2021 7:34:18 PM(UTC-6)


                                                                    Source Extraction:
                                                                    Advanced Logical




  From: +14782346277 white Wayne

  Yea but you gotta lmk first
  Status: Read

                                   1/8/2021 7:38:26 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                              To: +14782346277 white Wayne

                                                                              How far ahead

                                                                                  Participant             Delivered      Read     Played
                                                                                  +14782346277 white
                                                                                  Wayne


                                                                              Status: Sent

                                                                                                                      1/8/2021 7:44:43 PM(UTC-6)


                                                                            Source Extraction:
                                                                            Advanced Logical




  From: +14782346277 white Wayne

  Just lmk when you bout 20 or 30 minutes away
  Status: Read

                                       1/8/2021 7:45:25 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                              To: +14782346277 white Wayne




                                                                                  Participant             Delivered      Read     Played
                                                                                  +14782346277 white
                                                                                  Wayne


                                                                              Status: Sent

                                                                                                                      1/8/2021 7:45:58 PM(UTC-6)


                                                                            Source Extraction:
                                                                            Advanced Logical




               App._0054                                                                                                 USA Prod_000182           5
             Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                     Page 6 of 119 PageID 221
  Sup
  Status: Read

                                   1/9/2021 3:24:43 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                  To: +14782346277 white Wayne

                                                                  Not long I got you

                                                                      Participant          Delivered      Read     Played
                                                                      +14782346277 white
                                                                      Wayne


                                                                  Status: Sent

                                                                                                       1/9/2021 3:40:36 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




  From: +14782346277 white Wayne

  Aight
  Status: Read

                                   1/9/2021 3:41:31 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  When you thank? Tonight tomorrow or what?
  Status: Read

                                   1/9/2021 5:32:30 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                  To: +14782346277 white Wayne

                                                                  You there

                                                                      Participant          Delivered      Read     Played
                                                                      +14782346277 white
                                                                      Wayne


                                                                  Status: Sent

                                                                                                       1/9/2021 5:33:22 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




               App._0055                                                                                  USA Prod_000183           6
             Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277        7 of 119 PageID 222
                                                                       white Wayne

                                                                     Close

                                                                         Participant          Delivered      Read     Played
                                                                         +14782346277 white
                                                                         Wayne


                                                                     Status: Sent

                                                                                                          1/9/2021 5:36:52 PM(UTC-6)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +14782346277 white Wayne

  Min
  Status: Read

                                      1/9/2021 5:37:21 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  He ready
  Status: Read

                                      1/9/2021 5:45:15 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                     To: +14782346277 white Wayne

                                                                     K

                                                                         Participant          Delivered      Read     Played
                                                                         +14782346277 white
                                                                         Wayne


                                                                     Status: Sent

                                                                                                          1/9/2021 5:46:00 PM(UTC-6)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +14782346277 white Wayne

  He said how long it's cold outside lol
  Status: Read

                                      1/9/2021 5:59:35 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0056                                                                                     USA Prod_000184           7
             Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277        8 of 119 PageID 223
                                                                       white Wayne

                                                                                Tell him to come back out for a sec

                                                                                    Participant             Delivered        Read    Played
                                                                                    +14782346277 white
                                                                                    Wayne


                                                                                Status: Sent

                                                                                                                         1/9/2021 6:58:58 PM(UTC-6)


                                                                              Source Extraction:
                                                                              Advanced Logical




                                                                                To: +14782346277 white Wayne

                                                                                Have tried to text me

                                                                                    Participant             Delivered        Read    Played
                                                                                    +14782346277 white
                                                                                    Wayne


                                                                                Status: Sent

                                                                                                                        1/15/2021 8:04:37 AM(UTC-6)


                                                                              Source Extraction:
                                                                              Advanced Logical




  From: +14782346277 white Wayne

  Nah but they ain't liking this stuff but its bout gone
  Status: Read

                                                  1/15/2021 8:05:20 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14782346277 white Wayne

                                                                         I'll put something different together for you

                                                                             Participant                 Delivered         Read     Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                                        1/15/2021 8:08:29 AM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




               App._0057                                                                                                    USA Prod_000185           8
             Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277        9 of 119 PageID 224
                                                                       white Wayne

                                                                   You talking both of them

                                                                       Participant            Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                          1/15/2021 8:10:13 AM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Yea they bout gone
  Status: Read

                                   1/15/2021 8:16:40 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Ok

                                                                       Participant            Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                          1/15/2021 8:31:34 AM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Have you tried to hml

                                                                       Participant            Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                          1/16/2021 8:30:36 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




               App._0058                                                                                      USA Prod_000186           9
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       10 of 119 PageID 225
                                                                       white Wayne

                                                                             Phone been off that's why I asked

                                                                                 Participant           Delivered         Read      Played
                                                                                 +14782346277 white
                                                                                 Wayne


                                                                             Status: Sent

                                                                                                                    1/16/2021 8:34:39 PM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




  From: +14782346277 white Wayne

  Nah shit slow on this what's it looking like
  Status: Read

                                          1/16/2021 8:35:25 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                             To: +14782346277 white Wayne

                                                                             Looking good

                                                                                 Participant           Delivered         Read      Played
                                                                                 +14782346277 white
                                                                                 Wayne


                                                                             Status: Sent

                                                                                                                    1/16/2021 8:36:00 PM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




  From: +14782346277 white Wayne

  This got me stucc now tho send a pic
  Status: Read

                                    1/17/2021 12:15:09 PM(UTC-6)


Source Extraction:
Advanced Logical




                                          To: +14782346277 white Wayne

                                          I will why you didn't stick with the ones that wasn't so bright that they liked you didn't have no
                                          problems with cause they like those too

                                              Participant                           Delivered            Read             Played
                                              +14782346277 white Wayne


                                          Status: Sent

                                                                                                                   1/17/2021 12:21:16 PM(UTC-6)


                                        Source Extraction:
                                        Advanced Logical




               App._0059                                                                                                USA Prod_000187 10
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       11 of 119 PageID 226
                                                                       white Wayne

                                                                             You home

                                                                                Participant             Delivered        Read    Played
                                                                                +14782346277 white
                                                                                Wayne


                                                                            Status: Sent

                                                                                                                    1/17/2021 4:53:18 PM(UTC-6)


                                                                          Source Extraction:
                                                                          Advanced Logical




  From: +14782346277 white Wayne

  Nah sup tho
  Status: Read

                                     1/17/2021 4:53:46 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14782346277 white Wayne

                                                                         I was bout to bring something around there

                                                                             Participant             Delivered          Read     Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                                    1/17/2021 4:54:33 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +14782346277 white Wayne

  Why didnt you tell me ahead of time foo
  Status: Read

                                     1/17/2021 4:55:29 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  Let me knw ahead of time today gotta be later on tho ...I really dont like this but ima
  dump it
  Status: Read

                                                                   1/18/2021 2:24:27 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0060                                                                                                USA Prod_000188 11
            Case 3:21-cv-01788-X Document 34-7 To:
                                                Filed   04/05/22
                                                   +14782346277        Page 12 of 119 PageID 227
                                                                white Wayne

                                                                   Ok I let you know ahead of time like 30 40mins ahead

                                                                       Participant                     Delivered          Read       Played
                                                                       +14782346277 white Wayne


                                                                   Status: Sent

                                                                                                                         1/18/2021 2:33:19 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Later on tho rite
  Status: Read

                                   1/18/2021 2:34:13 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                                  To: +14782346277 white Wayne

                                                                                  Bout wat time you talking

                                                                                      Participant            Delivered        Read    Played
                                                                                      +14782346277 white
                                                                                      Wayne


                                                                                  Status: Sent

                                                                                                                         1/18/2021 2:38:03 PM(UTC-6)


                                                                              Source Extraction:
                                                                              Advanced Logical




                                                                                  To: +14782346277 white Wayne

                                                                                  Maybe 6

                                                                                      Participant            Delivered        Read    Played
                                                                                      +14782346277 white
                                                                                      Wayne


                                                                                  Status: Sent

                                                                                                                         1/18/2021 2:38:27 PM(UTC-6)


                                                                              Source Extraction:
                                                                              Advanced Logical




  From: +14782346277 white Wayne

  After 6
  Status: Read

                                   1/18/2021 2:38:36 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0061                                                                                                     USA Prod_000189 12
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       13 of 119 PageID 228
                                                                       white Wayne

                                                                   K

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/18/2021 2:44:48 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  You got sum different
  Status: Read

                                   1/18/2021 4:33:24 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Yea

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/18/2021 4:33:49 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Harder buds
  Status: Read

                                   1/18/2021 4:44:18 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  Light? Harder buds?
  Status: Read

                                   1/18/2021 4:44:33 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0062                                                                                    USA Prod_000190 13
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       14 of 119 PageID 229
                                                                       white Wayne

                                                                   Yea

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/18/2021 4:44:36 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  You'll tell me anything
  Status: Read

                                   1/18/2021 4:48:09 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Naw

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/18/2021 4:48:40 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   In route

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/18/2021 6:44:36 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Ok
  Status: Read

                                   1/18/2021 6:59:06 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0063                                                                                    USA Prod_000191 14
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                              Page 15 of 119 PageID 230
  They like that frm last nite but I got 3 and a half shake foo
  Status: Read

                                                     1/19/2021 6:53:16 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                        To: +14782346277 white Wayne

                                                                        They will buy that but didn't look like that much

                                                                           Participant                 Delivered      Read      Played
                                                                           +14782346277 white Wayne


                                                                        Status: Sent

                                                                                                                    1/19/2021 6:55:02 PM(UTC-6)


                                                                     Source Extraction:
                                                                     Advanced Logical




                                                                    To: +14782346277 white Wayne

                                                                    Ain't no telling wat I bring you next round either lol

                                                                        Participant                Delivered         Read      Played
                                                                        +14782346277 white Wayne


                                                                    Status: Sent

                                                                                                                    1/19/2021 7:00:19 PM(UTC-6)


                                                                  Source Extraction:
                                                                  Advanced Logical




  From: +14782346277 white Wayne

  Ik
  Status: Read

                                     1/19/2021 7:10:28 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  Is that a good thang or a bad thang?
  Status: Read

                                     1/19/2021 7:11:06 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0064                                                                                                 USA Prod_000192 15
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       16 of 119 PageID 231
                                                                       white Wayne

                                                                         Lol a good thang fooley lol

                                                                             Participant            Delivered        Read    Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                                1/19/2021 7:11:34 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +14782346277 white Wayne

  Oh ok you dont have no more of that
  Status: Read

                                   1/19/2021 7:12:10 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Probably wat if I said I got something better

                                                                       Participant                Delivered        Read      Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                                1/19/2021 7:12:41 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  They liked that
  Status: Read

                                   1/19/2021 7:15:36 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14782346277 white Wayne

                                                                         I may have some more of that one

                                                                             Participant            Delivered        Read    Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                                1/19/2021 7:16:03 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




               App._0065                                                                                            USA Prod_000193 16
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                           Page 17 of 119 PageID 232
  What the better stuff look like
  Status: Read

                                    1/19/2021 7:16:05 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  You got a pic
  Status: Read

                                    1/19/2021 7:16:39 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                        To: +14782346277 white Wayne

                                                                        Let me makesure before I tell you that

                                                                            Participant          Delivered        Read    Played
                                                                            +14782346277 white
                                                                            Wayne


                                                                        Status: Sent

                                                                                                             1/19/2021 7:17:04 PM(UTC-6)


                                                                      Source Extraction:
                                                                      Advanced Logical




  From: +14782346277 white Wayne

  Ok but do you at least have one more of these
  Status: Read

                                        1/19/2021 7:17:42 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                        To: +14782346277 white Wayne

                                                                        I think I do

                                                                            Participant          Delivered        Read    Played
                                                                            +14782346277 white
                                                                            Wayne


                                                                        Status: Sent

                                                                                                             1/19/2021 7:18:02 PM(UTC-6)


                                                                      Source Extraction:
                                                                      Advanced Logical




               App._0066                                                                                         USA Prod_000194 17
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                              Page 18 of 119 PageID 233
  Ok I need it
  Status: Read

                                    1/19/2021 7:18:44 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +14782346277 white Wayne

                                                                           When you gone be ready

                                                                               Participant          Delivered        Read    Played
                                                                               +14782346277 white
                                                                               Wayne


                                                                           Status: Sent

                                                                                                                1/19/2021 7:19:01 PM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




  From: +14782346277 white Wayne

  Not all the way ready but I'm half way there can do one that's why I said that foo
  Status: Read

                                                              1/19/2021 7:20:12 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +14782346277 white Wayne

                                                                           Imma try to make that happen

                                                                               Participant          Delivered        Read    Played
                                                                               +14782346277 white
                                                                               Wayne


                                                                           Status: Sent

                                                                                                                1/19/2021 7:25:11 PM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




  From: +14782346277 white Wayne

  Ok lmk
  Status: Read

                                    1/19/2021 7:25:32 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0067                                                                                            USA Prod_000195 18
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       19 of 119 PageID 234
                                                                       white Wayne




                                                                        Participant             Delivered         Read    Played
                                                                        +14782346277 white
                                                                        Wayne


                                                                    Status: Sent

                                                                                                             1/19/2021 7:42:49 PM(UTC-6)


                                                                  Source Extraction:
                                                                  Advanced Logical




  From: +14782346277 white Wayne

  You new yet
  Status: Read

                                   1/20/2021 11:47:07 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                    To: +14782346277 white Wayne

                                                                    I'll let you know in a little while

                                                                        Participant             Delivered         Read    Played
                                                                        +14782346277 white
                                                                        Wayne


                                                                    Status: Sent

                                                                                                            1/20/2021 11:53:24 AM(UTC-6)


                                                                  Source Extraction:
                                                                  Advanced Logical




  From: +14782346277 white Wayne

  Ok
  Status: Read

                                   1/20/2021 11:53:50 AM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  New yet I'm bout ready
  Status: Read

                                    1/20/2021 1:11:58 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0068                                                                                         USA Prod_000196 19
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       20 of 119 PageID 235
                                                                       white Wayne

                                                                     Huh

                                                                         Participant          Delivered        Read    Played
                                                                         +14782346277 white
                                                                         Wayne


                                                                     Status: Sent

                                                                                                          1/20/2021 1:14:04 PM(UTC-6)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +14782346277 white Wayne

  I'm bout ready but I need sum a1
  Status: Read

                                     1/20/2021 1:14:44 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                     To: +14782346277 white Wayne

                                                                     Ik I got u

                                                                         Participant          Delivered        Read    Played
                                                                         +14782346277 white
                                                                         Wayne


                                                                     Status: Sent

                                                                                                          1/20/2021 1:15:00 PM(UTC-6)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +14782346277 white Wayne

  Ok lmk
  Status: Read

                                     1/20/2021 1:15:39 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  Asap
  Status: Read

                                     1/20/2021 1:15:41 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0069                                                                                      USA Prod_000197 20
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       21 of 119 PageID 236
                                                                       white Wayne

                                                                   Got ya

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/20/2021 1:19:05 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Today?
  Status: Read

                                   1/20/2021 1:29:22 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Yeap

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/20/2021 1:37:34 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Bet
  Status: Read

                                   1/20/2021 1:37:47 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  Yooooo
  Status: Read

                                   1/20/2021 5:07:48 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0070                                                                                    USA Prod_000198 21
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       22 of 119 PageID 237
                                                                       white Wayne

                                                                         I got you stay put

                                                                             Participant          Delivered        Read    Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                              1/20/2021 5:09:28 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +14782346277 white Wayne

  Gotta be pretty
  Status: Read

                                       1/20/2021 5:15:01 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14782346277 white Wayne




                                                                             Participant          Delivered        Read    Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                              1/20/2021 5:15:19 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +14782346277 white Wayne

  And how long I dont like to just sit still
  Status: Read

                                         1/20/2021 5:15:29 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14782346277 white Wayne

                                                                         Just give me a couple hour

                                                                             Participant          Delivered        Read    Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                              1/20/2021 5:17:15 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




               App._0071                                                                                          USA Prod_000199 22
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       23 of 119 PageID 238
                                                                       white Wayne

                                                                   Wont be long

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/20/2021 5:17:45 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  I hear ya jlmk
  Status: Read

                                   1/20/2021 5:18:00 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  Tonight 4sho tho?
  Status: Read

                                   1/20/2021 5:31:20 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne




                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/20/2021 5:31:35 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Here

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/20/2021 7:05:04 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




               App._0072                                                                                    USA Prod_000200 23
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                      Page 24 of 119 PageID 239
  Where
  Status: Read

                                   1/20/2021 7:05:22 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Your crib front

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/20/2021 7:05:56 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Where you

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/20/2021 7:06:03 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Both of them the same rite
  Status: Read

                                   1/20/2021 7:21:19 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Yea

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/20/2021 7:22:40 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




               App._0073                                                                                    USA Prod_000201 24
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       25 of 119 PageID 240
                                                                       white Wayne

                                                                                       40 dollars short

                                                                                           Participant                Delivered          Read      Played
                                                                                           +14782346277 white
                                                                                           Wayne


                                                                                       Status: Sent

                                                                                                                                  1/20/2021 7:22:53 PM(UTC-6)


                                                                                     Source Extraction:
                                                                                     Advanced Logical




  From: +14782346277 white Wayne

  I love the look hope its smoking count again bra I had it counted up ....that's why I said lmk
  ahead of time so I can handle everything
  Status: Read

                                                                                   1/20/2021 7:24:18 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                                       To: +14782346277 white Wayne

                                                                                       I counted 30 short tho I recounted

                                                                                           Participant                Delivered          Read      Played
                                                                                           +14782346277 white
                                                                                           Wayne


                                                                                       Status: Sent

                                                                                                                                  1/20/2021 7:24:51 PM(UTC-6)


                                                                                     Source Extraction:
                                                                                     Advanced Logical




  From: +14782346277 white Wayne

  It ain't short I promise but I'll owe you 30 but I knw it's all there
  Status: Read

                                                             1/20/2021 7:25:41 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                To: +14782346277 white Wayne

                                                                They wat they supposed be but I'll run threw everything again

                                                                    Participant                           Delivered               Read          Played
                                                                    +14782346277 white Wayne


                                                                Status: Sent

                                                                                                                                  1/20/2021 7:26:31 PM(UTC-6)


                                                              Source Extraction:
                                                              Advanced Logical




               App._0074                                                                                                                 USA Prod_000202 25
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                                    Page 26 of 119 PageID 241
  You got some more of these?
  Status: Read

                                   1/20/2021 7:28:03 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                                 To: +14782346277 white Wayne

                                                                                 Yea

                                                                                     Participant                 Delivered          Read     Played
                                                                                     +14782346277 white
                                                                                     Wayne


                                                                                 Status: Sent

                                                                                                                             1/20/2021 7:31:43 PM(UTC-6)


                                                                               Source Extraction:
                                                                               Advanced Logical




                                                            To: +14782346277 white Wayne

                                                            And everything here I had to again everything here my fault

                                                                 Participant                         Delivered               Read          Played
                                                                 +14782346277 white Wayne


                                                            Status: Sent

                                                                                                                             1/20/2021 7:33:10 PM(UTC-6)


                                                          Source Extraction:
                                                          Advanced Logical




  From: +14782346277 white Wayne

  I told ya so we clear
  Status: Read

                                   1/20/2021 7:33:44 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                                 To: +14782346277 white Wayne

                                                                                 Yea we good

                                                                                     Participant                 Delivered          Read     Played
                                                                                     +14782346277 white
                                                                                     Wayne


                                                                                 Status: Sent

                                                                                                                             1/20/2021 7:34:00 PM(UTC-6)


                                                                               Source Extraction:
                                                                               Advanced Logical




               App._0075                                                                                                            USA Prod_000203 26
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                               Page 27 of 119 PageID 242
  So what I owe you
  Status: Read

                                     1/20/2021 7:35:44 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14782346277 white Wayne

                                                                         Still just 4 I'm still give you same ticket

                                                                             Participant             Delivered          Read     Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                                    1/20/2021 7:37:33 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +14782346277 white Wayne

  Ok I was just checcn I was drunk the other nite i was thanking i paid for the other 2 already i
  was thanking i cashed out on these
  Status: Read

                                                                       1/20/2021 7:39:16 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                             To: +14782346277 white Wayne

                                                                             You had to be drunk

                                                                                Participant             Delivered        Read    Played
                                                                                +14782346277 white
                                                                                Wayne


                                                                            Status: Sent

                                                                                                                    1/20/2021 7:39:59 PM(UTC-6)


                                                                          Source Extraction:
                                                                          Advanced Logical




  From: +14782346277 white Wayne


  Status: Read

                                     1/20/2021 7:40:57 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0076                                                                                                USA Prod_000204 27
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                                     Page 28 of 119 PageID 243
  Ima need 2 more of them same later on today foo
  Status: Read

                                           1/21/2021 12:49:26 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                                    To: +14782346277 white Wayne

                                                                                    Ok

                                                                                       Participant             Delivered         Read     Played
                                                                                       +14782346277 white
                                                                                       Wayne


                                                                                    Status: Sent

                                                                                                                           1/21/2021 12:49:43 PM(UTC-6)


                                                                                Source Extraction:
                                                                                Advanced Logical




  From: +14782346277 white Wayne

  This the type shit I be wanting bra fr
  Status: Read

                                    1/21/2021 12:52:50 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                                    To: +14782346277 white Wayne




                                                                                       Participant             Delivered         Read     Played
                                                                                       +14782346277 white
                                                                                       Wayne


                                                                                    Status: Sent

                                                                                                                           1/21/2021 12:54:53 PM(UTC-6)


                                                                                Source Extraction:
                                                                                Advanced Logical




                                                                 To: +14782346277 white Wayne

                                                                 You still was talking about getting 2 today or tomorrow

                                                                     Participant                       Delivered            Read        Played
                                                                     +14782346277 white Wayne


                                                                 Status: Sent

                                                                                                                            1/21/2021 4:33:24 PM(UTC-6)


                                                               Source Extraction:
                                                               Advanced Logical




               App._0077                                                                                                        USA Prod_000205 28
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                      Page 29 of 119 PageID 244
  Today
  Status: Read

                                   1/21/2021 4:34:38 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Wat time

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/21/2021 4:34:57 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Bout 8 probably
  Status: Read

                                   1/21/2021 4:35:17 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Ok fosho today

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/21/2021 4:35:41 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  4sho
  Status: Read

                                   1/21/2021 4:36:24 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0078                                                                                    USA Prod_000206 29
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       30 of 119 PageID 245
                                                                       white Wayne




                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/21/2021 4:36:44 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Same kind rite
  Status: Read

                                   1/21/2021 4:44:43 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne




                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/21/2021 4:45:05 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Ready when you are
  Status: Read

                                   1/21/2021 6:02:14 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Ok

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/21/2021 6:02:30 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




               App._0079                                                                                    USA Prod_000207 30
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                      Page 31 of 119 PageID 246
  Tonight?
  Status: Read

                                   1/21/2021 7:13:57 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne




                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/21/2021 7:14:22 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   You there

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/21/2021 8:07:56 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  My son
  Status: Read

                                   1/21/2021 8:08:35 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne




                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/21/2021 8:10:07 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




               App._0080                                                                                    USA Prod_000208 31
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                          Page 32 of 119 PageID 247
  You therr
  Status: Read

                                   1/21/2021 8:10:25 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                        To: +14782346277 white Wayne

                                                                        Yea

                                                                            Participant            Delivered        Read    Played
                                                                            +14782346277 white
                                                                            Wayne


                                                                        Status: Sent

                                                                                                               1/21/2021 8:17:48 PM(UTC-6)


                                                                     Source Extraction:
                                                                     Advanced Logical




  From: +14782346277 white Wayne

  Do I need to weigh the other 1
  Status: Read

                                   1/21/2021 9:37:09 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                        To: 4782346277 white Wayne

                                                                        Huh

                                                                            Participant            Delivered        Read    Played
                                                                            4782346277 white
                                                                            Wayne


                                                                        Status: Sent

                                                                                                               1/21/2021 9:37:22 PM(UTC-6)


                                                                     Source Extraction:
                                                                     Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   Answer the 1423 number I'm calling you from

                                                                       Participant               Delivered        Read      Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                               1/21/2021 9:39:35 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




               App._0081                                                                                           USA Prod_000209 32
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                              Page 33 of 119 PageID 248
  You got some more of this?
  Status: Read

                                     1/22/2021 4:01:41 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +14782346277 white Wayne

                                                                           Yea

                                                                               Participant          Delivered        Read    Played
                                                                               +14782346277 white
                                                                               Wayne


                                                                           Status: Sent

                                                                                                                1/22/2021 4:04:35 PM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




  From: +14782346277 white Wayne

  Need 2 more tonight or in the am
  Status: Read

                                     1/22/2021 4:05:23 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +14782346277 white Wayne




                                                                               Participant          Delivered        Read    Played
                                                                               +14782346277 white
                                                                               Wayne


                                                                           Status: Sent

                                                                                                                1/22/2021 4:05:48 PM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




  From: +14782346277 white Wayne

  You need to see if yo ppl got more
  Status: Read

                                           1/22/2021 4:07:02 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0082                                                                                            USA Prod_000210 33
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       34 of 119 PageID 249
                                                                       white Wayne




                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/22/2021 4:15:38 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   You those tonight or tomorrow

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/22/2021 7:06:56 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   You want those tonight or tomorrow

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        1/22/2021 7:15:27 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Tomorrow 4sho
  Status: Read

                                   1/22/2021 7:24:32 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0083                                                                                    USA Prod_000211 34
            Case 3:21-cv-01788-X Document 34-7 To:
                                               Filed   04/05/22
                                                   +14782346277        Page 35 of 119 PageID 250
                                                                white Wayne

                                                                       You may want to grab the last ones before they gone

                                                                           Participant                  Delivered          Read     Played
                                                                           +14782346277 white Wayne


                                                                       Status: Sent

                                                                                                                      1/22/2021 7:28:55 PM(UTC-6)


                                                                     Source Extraction:
                                                                     Advanced Logical




  From: +14782346277 white Wayne

  Ok
  Status: Read

                                   1/22/2021 7:29:23 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  I said I want them
  Status: Read

                                   1/22/2021 7:29:51 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                  To: +14782346277 white Wayne

                                                  I know you wanted to throw 2 more on you I'm talking about the rest I got left

                                                      Participant                           Delivered               Read          Played
                                                      +14782346277 white Wayne


                                                  Status: Sent

                                                                                                                      1/22/2021 7:31:13 PM(UTC-6)


                                                Source Extraction:
                                                Advanced Logical




  From: +14782346277 white Wayne

  Yea
  Status: Read

                                   1/22/2021 7:31:56 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0084                                                                                                     USA Prod_000212 35
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       36 of 119 PageID 251
                                                                       white Wayne

                                                                                 So you want them

                                                                                     Participant             Delivered        Read    Played
                                                                                     +14782346277 white
                                                                                     Wayne


                                                                                 Status: Sent

                                                                                                                         1/22/2021 7:33:06 PM(UTC-6)


                                                                               Source Extraction:
                                                                               Advanced Logical




  From: +14782346277 white Wayne

  Yea I wish you would wait till tomorrow tho
  Status: Read

                                          1/22/2021 7:34:08 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                              To: +14782346277 white Wayne

                                                                              I can wait till tomorrow I ain't down there

                                                                                 Participant              Delivered          Read     Played
                                                                                 +14782346277 white
                                                                                 Wayne


                                                                              Status: Sent

                                                                                                                         1/22/2021 7:34:48 PM(UTC-6)


                                                                          Source Extraction:
                                                                          Advanced Logical




  From: +14782346277 white Wayne

  Ok that's better for me but I definitely want them
  Status: Read

                                                1/22/2021 7:35:38 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  I'll have half if not 5000 tomorrow
  Status: Read

                                        1/26/2021 3:47:07 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0085                                                                                                     USA Prod_000213 36
            Case 3:21-cv-01788-X DocumentTo:
                                          34-7     Filed white
                                             +14782346277 04/05/22
                                                               Wayne                            Page 37 of 119 PageID 252
                                                        That's cool I'll wait till you got the whole 8 I ain't rushing you

                                                            Participant                         Delivered           Read            Played
                                                            +14782346277 white Wayne


                                                        Status: Sent

                                                                                                                        1/26/2021 3:54:26 PM(UTC-6)


                                                      Source Extraction:
                                                      Advanced Logical




  From: +14782346277 white Wayne

  Ok Cool shouldn't be to long
  Status: Read

                                    1/26/2021 3:55:17 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                             To: +14782346277 white Wayne




                                                                                 Participant                Delivered        Read      Played
                                                                                 +14782346277 white
                                                                                 Wayne


                                                                             Status: Sent

                                                                                                                        1/26/2021 3:55:39 PM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




  From: +14782346277 white Wayne

  Been slow motion the last couple days but it's all Good..
  Status: Read

                                                 1/29/2021 5:47:10 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                             To: +14782346277 white Wayne

                                                                             Yea be days like that

                                                                                 Participant                Delivered        Read      Played
                                                                                 +14782346277 white
                                                                                 Wayne


                                                                             Status: Sent

                                                                                                                        1/29/2021 5:50:15 PM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




               App._0086                                                                                                    USA Prod_000214 37
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                                     Page 38 of 119 PageID 253
  Ikr
  Status: Read

                                    1/29/2021 5:55:13 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                    To: +14782346277 white Wayne

                                                                    When you think you may be ready because getting low

                                                                        Participant                     Delivered            Read       Played
                                                                        +14782346277 white Wayne


                                                                    Status: Sent

                                                                                                                            1/29/2021 6:05:18 PM(UTC-6)


                                                                  Source Extraction:
                                                                  Advanced Logical




  From: +14782346277 white Wayne

  Cant say slow rite now just gave you 4 yesterday foo lol
  Status: Read

                                                1/29/2021 6:06:10 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                       To: +14782346277 white Wayne

                                                                       That was last week fooled lol aint no rush tho

                                                                           Participant                      Delivered         Read      Played
                                                                           +14782346277 white
                                                                           Wayne


                                                                       Status: Sent

                                                                                                                            1/29/2021 6:29:44 PM(UTC-6)


                                                                     Source Extraction:
                                                                     Advanced Logical




                                                                                 To: +14782346277 white Wayne

                                                                                 Fooley

                                                                                       Participant              Delivered        Read    Played
                                                                                       +14782346277 white
                                                                                       Wayne


                                                                                Status: Sent

                                                                                                                            1/29/2021 6:30:05 PM(UTC-6)


                                                                              Source Extraction:
                                                                              Advanced Logical




               App._0087                                                                                                        USA Prod_000215 38
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                           Page 39 of 119 PageID 254
  That was tuesday foo look at yo text llh
  Status: Read

                                    1/29/2021 6:31:53 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14782346277 white Wayne

                                                                         I know lol I was just messing with ya

                                                                             Participant            Delivered        Read    Played
                                                                             +14782346277 white
                                                                             Wayne


                                                                         Status: Sent

                                                                                                                1/29/2021 6:32:47 PM(UTC-6)


                                                                      Source Extraction:
                                                                      Advanced Logical




  From: +14782346277 white Wayne

  Lol
  Status: Read

                                    1/29/2021 6:33:10 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14782346277 white Wayne

  Be ready tomorrow...is it the same?
  Status: Read

                                    2/1/2021 11:52:16 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                    To: +14782346277 white Wayne

                                                                    Got the same and something different both A1

                                                                        Participant               Delivered        Read      Played
                                                                        +14782346277 white
                                                                        Wayne


                                                                    Status: Sent

                                                                                                                2/1/2021 11:53:07 AM(UTC-6)


                                                                  Source Extraction:
                                                                  Advanced Logical




               App._0088                                                                                            USA Prod_000216 39
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14782346277 white Wayne                                                              Page 40 of 119 PageID 255
  Ok I like that
  Status: Read

                                   2/1/2021 11:53:55 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   If you are ready today that would be good also

                                                                       Participant                  Delivered        Read      Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                                   2/1/2021 11:57:37 AM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Gotta be tomorrow
  Status: Read

                                   2/1/2021 11:58:09 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +14782346277 white Wayne




                                                                               Participant             Delivered        Read    Played
                                                                               +14782346277 white
                                                                               Wayne


                                                                           Status: Sent

                                                                                                                   2/1/2021 12:48:22 PM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




  From: +14782346277 white Wayne

  Everything everything this evening
  Status: Read

                                   2/2/2021 11:47:09 AM(UTC-6)


Source Extraction:
Advanced Logical




               App._0089                                                                                               USA Prod_000217 40
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       41 of 119 PageID 256
                                                                       white Wayne

                                                                   Cool around wat time

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        2/2/2021 11:53:25 AM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  Ima say 6 maybe 7
  Status: Read

                                   2/2/2021 12:00:32 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne




                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                        2/2/2021 12:06:00 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14782346277 white Wayne

  I want the same as last pacc
  Status: Read

                                    2/2/2021 5:54:20 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14782346277 white Wayne

                                                                   I already know

                                                                       Participant          Delivered        Read    Played
                                                                       +14782346277 white
                                                                       Wayne


                                                                   Status: Sent

                                                                                                         2/2/2021 5:54:40 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




               App._0090                                                                                    USA Prod_000218 41
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                                      To: +14782346277       42 of 119 PageID 257
                                                                       white Wayne

                                                                  Bringing 4

                                                                      Participant          Delivered      Read     Played
                                                                      +14782346277 white
                                                                      Wayne


                                                                  Status: Sent

                                                                                                       2/2/2021 5:55:31 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




  From: +14782346277 white Wayne

  Bet
  Status: Read

                                   2/2/2021 5:59:12 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                  To: +14782346277 white Wayne

                                                                  Pulling up

                                                                      Participant          Delivered      Read     Played
                                                                      +14782346277 white
                                                                      Wayne


                                                                  Status: Sent

                                                                                                       2/2/2021 6:41:41 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




               App._0091                                                                                  USA Prod_000219 42
               Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                   Page 43 of 119 PageID 258




   Extraction Report - Cellebrite Reports


Participants
+17067732155
7067732155



Conversation - Instant Messages (100)


     From: +17067732155

     Bro what's good
     Status: Read

                                12/4/2020 5:13:51 AM(UTC-6)


   Source Extraction:
   Advanced Logical




     From: +17067732155

     This Omri
     Status: Read

                                12/4/2020 4:42:51 PM(UTC-6)


   Source Extraction:
   Advanced Logical




                                                                To: +17067732155

                                                                Yo wats up

                                                                    Participant          Delivered        Read    Played
                                                                    +17067732155


                                                                Status: Sent

                                                                                                     12/7/2020 6:47:54 PM(UTC-6)


                                                              Source Extraction:
                                                              Advanced Logical




     From: +17067732155

     Cooling
     Status: Read

                                12/7/2020 6:50:19 PM(UTC-6)


   Source Extraction:
   Advanced Logical




                  App._0092                                                                              USA Prod_000220           1
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                    Page 44 of 119 PageID 259
  What's the move
  Status: Read

                                     12/7/2020 6:50:25 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                     To: +17067732155

                                                                     Nothing much just hitting you back

                                                                         Participant          Delivered        Read    Played
                                                                         +17067732155


                                                                     Status: Sent

                                                                                                          12/7/2020 6:50:49 PM(UTC-6)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +17067732155

  Oh yea I was trying to shake sum
  Status: Read

                                     12/7/2020 6:51:38 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  You like we talked about
  Status: Read

                                     12/7/2020 6:51:59 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  Know
  Status: Read

                                     12/7/2020 6:52:11 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0093                                                                                      USA Prod_000221           2
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 45 of 119 PageID 260
                                                      To: +17067732155

                                                                  Wats up

                                                                      Participant        Delivered        Read    Played
                                                                      +17067732155


                                                                  Status: Sent

                                                                                                     12/9/2020 5:51:29 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




  From: +17067732155

  Cooling, what's the business?
  Status: Read

                                  12/9/2020 5:52:18 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                  To: +17067732155

                                                                  Wat you were talking about

                                                                      Participant        Delivered        Read    Played
                                                                      +17067732155


                                                                  Status: Sent

                                                                                                     12/9/2020 5:53:49 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




  From: +17067732155

  Two bags
  Status: Read

                                  12/9/2020 6:03:37 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                  To: +17067732155

                                                                  Where you at now

                                                                      Participant        Delivered        Read    Played
                                                                      +17067732155


                                                                  Status: Sent

                                                                                                     12/9/2020 6:04:08 PM(UTC-6)


                                                                Source Extraction:
                                                                Advanced Logical




               App._0094                                                                                 USA Prod_000222           3
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                            Page 46 of 119 PageID 261
  Augusta
  Status: Read

                             12/9/2020 6:04:21 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  I work down this way
  Status: Read

                             12/9/2020 6:05:10 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                             To: +17067732155

                                                             When you coming around

                                                                 Participant          Delivered        Read    Played
                                                                 +17067732155


                                                             Status: Sent

                                                                                                  12/9/2020 6:06:12 PM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




  From: +17067732155

  Weekend
  Status: Read

                             12/9/2020 6:07:03 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                             To: +17067732155

                                                             Ok

                                                                 Participant          Delivered        Read    Played
                                                                 +17067732155


                                                             Status: Sent

                                                                                                  12/9/2020 6:13:22 PM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




               App._0095                                                                              USA Prod_000223           4
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                         Page 47 of 119 PageID 262
  You up top?
  Status: Read

                                 12/9/2020 6:14:01 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                          To: +17067732155

                                                                          Yea

                                                                              Participant          Delivered        Read    Played
                                                                              +17067732155


                                                                          Status: Sent

                                                                                                               12/9/2020 6:14:24 PM(UTC-6)


                                                                        Source Extraction:
                                                                        Advanced Logical




  From: +17067732155

  I got some ppl down here I might can come tomorrow
  Status: Read

                                          12/9/2020 6:14:42 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                          To: +17067732155

                                                                          Ok if you want to come tomorrow cool

                                                                              Participant          Delivered        Read    Played
                                                                              +17067732155


                                                                          Status: Sent

                                                                                                               12/9/2020 6:15:18 PM(UTC-6)


                                                                        Source Extraction:
                                                                        Advanced Logical




  From: +17067732155

  Ok
  Status: Read

                                 12/9/2020 6:15:33 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0096                                                                                           USA Prod_000224           5
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                     Page 48 of 119 PageID 263
  Bc bro we definitely need to talk
  Status: Read

                                      12/9/2020 6:15:50 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                      To: +17067732155

                                                                      We will talk

                                                                          Participant          Delivered        Read    Played
                                                                          +17067732155


                                                                      Status: Sent

                                                                                                           12/9/2020 6:16:53 PM(UTC-6)


                                                                    Source Extraction:
                                                                    Advanced Logical




  From: +17067732155

  Bet
  Status: Read

                                      12/9/2020 6:17:21 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  Bro you up top
  Status: Read

                                  12/11/2020 12:54:46 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                      To: +17067732155

                                                                      Yea

                                                                          Participant          Delivered        Read    Played
                                                                          +17067732155


                                                                      Status: Sent

                                                                                                       12/11/2020 12:55:19 PM(UTC-6)


                                                                    Source Extraction:
                                                                    Advanced Logical




               App._0097                                                                                       USA Prod_000225           6
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                  Page 49 of 119 PageID 264
  Ok I'm on the way up
  Status: Read

                                 12/11/2020 12:55:39 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +17067732155

                                                                   K

                                                                       Participant          Delivered         Read    Played
                                                                       +17067732155


                                                                   Status: Sent

                                                                                                    12/11/2020 12:56:11 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +17067732155

  Bro I'm at south Dekalb , you at home
  Status: Read

                                  12/11/2020 3:56:06 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +17067732155

                                                                   Come to Panola Publix

                                                                       Participant          Delivered         Read    Played
                                                                       +17067732155


                                                                   Status: Sent

                                                                                                        12/11/2020 3:56:53 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +17067732155

  Ok
  Status: Read

                                  12/11/2020 3:57:54 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0098                                                                                     USA Prod_000226           7
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                      Page 50 of 119 PageID 265
  Here wya
  Status: Read

                                      12/11/2020 4:18:20 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                       To: +17067732155

                                                                       Getting off now where you parked

                                                                           Participant          Delivered         Read    Played
                                                                           +17067732155


                                                                       Status: Sent

                                                                                                            12/11/2020 4:19:22 PM(UTC-6)


                                                                     Source Extraction:
                                                                     Advanced Logical




  From: +17067732155

  Oh you work here
  Status: Read

                                      12/11/2020 4:19:54 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                       To: +17067732155

                                                                       Nall about to pull up

                                                                           Participant          Delivered         Read    Played
                                                                           +17067732155


                                                                       Status: Sent

                                                                                                            12/11/2020 4:20:38 PM(UTC-6)


                                                                     Source Extraction:
                                                                     Advanced Logical




  From: +17067732155

  Left it the front door silver car
  Status: Read

                                      12/11/2020 4:20:39 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0099                                                                                         USA Prod_000227           8
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                          Page 51 of 119 PageID 266
  Oh ok
  Status: Read

                                   12/11/2020 4:20:56 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  It's a space next to me
  Status: Read

                                   12/11/2020 4:21:22 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  Bro sorry I didn't hit u but everything touched down and ima hit you
  Status: Read

                                                       12/12/2020 6:49:36 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +17067732155

                                                                           Ok cool

                                                                               Participant          Delivered         Read    Played
                                                                               +17067732155


                                                                           Status: Sent

                                                                                                                12/12/2020 7:19:15 AM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




                                                                           To: +17067732155

                                                                           Wats good

                                                                               Participant          Delivered         Read    Played
                                                                               +17067732155


                                                                           Status: Sent

                                                                                                                12/16/2020 5:02:01 PM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




               App._0100                                                                                             USA Prod_000228           9
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                             Page 52 of 119 PageID 267
  At work, Bout to clock out Still working on it
  Status: Read

                                          12/16/2020 5:05:15 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  Might have to bring one back bc I couldn't get in touch with my other guy
  Status: Read

                                                           12/16/2020 5:06:17 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                              To: +17067732155

                                                                              When do you think the other will be gone

                                                                                  Participant           Delivered         Read    Played
                                                                                  +17067732155


                                                                              Status: Sent

                                                                                                                    12/16/2020 5:08:24 PM(UTC-6)


                                                                            Source Extraction:
                                                                            Advanced Logical




  From: +17067732155

  I'm On my way to check on it ASAP
  Status: Read

                                     12/16/2020 5:27:55 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  I just got in touch with one of my ppl so we talk about a time frame, this just my first run ..
  ppl bn out of town
  Status: Read

                                                                         12/16/2020 5:29:16 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0101                                                                                                 USA Prod_000229 10
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 53 of 119 PageID 268
                                                     To: +17067732155

                                                                                 So when you saying the other will be gone

                                                                                     Participant         Delivered        Read     Played
                                                                                     +17067732155


                                                                                 Status: Sent

                                                                                                                     12/16/2020 5:30:37 PM(UTC-6)


                                                                               Source Extraction:
                                                                               Advanced Logical




  From: +17067732155

  If he get he gon need a few days
  Status: Read

                                     12/16/2020 5:31:39 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  This one supposed to be ready today
  Status: Read

                                     12/16/2020 5:32:04 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                      To: +17067732155

                                                                      Ok let me know soon as you get the bread for that 1

                                                                          Participant               Delivered          Read       Played
                                                                          +17067732155


                                                                      Status: Sent

                                                                                                                     12/16/2020 5:33:08 PM(UTC-6)


                                                                    Source Extraction:
                                                                    Advanced Logical




  From: +17067732155

  Ok
  Status: Read

                                     12/16/2020 5:33:24 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0102                                                                                                  USA Prod_000230 11
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 54 of 119 PageID 269
                                                     To: +17067732155

                                                                            You said that supposed to be ready today

                                                                                Participant         Delivered        Read     Played
                                                                                +17067732155


                                                                            Status: Sent

                                                                                                                12/16/2020 5:37:47 PM(UTC-6)


                                                                          Source Extraction:
                                                                          Advanced Logical




  From: +17067732155

  Yea
  Status: Read

                                   12/16/2020 5:40:36 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  It's moving
  Status: Read

                                   12/16/2020 5:40:56 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  Bro I'm coming to you I got to get the rest of this check and I'm going to come str8 to
  you
  Status: Read

                                                                  12/18/2020 4:28:49 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                             To: +17067732155

                                                                             Ok hit me before you leave

                                                                                 Participant        Delivered         Read    Played
                                                                                 +17067732155


                                                                             Status: Sent

                                                                                                                12/18/2020 6:49:11 AM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




               App._0103                                                                                             USA Prod_000231 12
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
                                                      To: 7067732155 Page 55 of 119 PageID 270

                                                                              Hml

                                                                                  Participant            Delivered         Read       Played
                                                                                  7067732155


                                                                              Status: Sent

                                                                                                                     12/19/2020 8:13:05 AM(UTC-6)


                                                                            Source Extraction:
                                                                            Advanced Logical




                                                  To: 7067732155

                                                  I got a couple things to take care of I can get rid of the rest if you having a hard time

                                                     Participant                          Delivered           Read            Played
                                                     7067732155


                                                 Status: Sent

                                                                                                                     12/19/2020 8:29:01 AM(UTC-6)


                                               Source Extraction:
                                               Advanced Logical




                                         To: 7067732155

                                         I can get one of my people in Augusta to meet you and grab that cause ain't just me wrap up
                                         in that move now

                                             Participant                             Delivered             Read              Played
                                             7067732155


                                         Status: Sent

                                                                                                                  12/19/2020 12:09:58 PM(UTC-6)


                                       Source Extraction:
                                       Advanced Logical




  From: +17067732155

  I'm at work bout to get off in 2hrs Oh, my ppl on it we moving I'm just waiting on him it was
  slow at first.. I was just rushing
  Status: Read

                                                                        12/19/2020 12:18:12 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0104                                                                                                  USA Prod_000232 13
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 56 of 119 PageID 271
                                                      To: +17067732155

                                                                               So wats gone already

                                                                                   Participant                 Delivered          Read      Played
                                                                                   +17067732155


                                                                               Status: Sent

                                                                                                                       12/19/2020 12:18:51 PM(UTC-6)


                                                                             Source Extraction:
                                                                             Advanced Logical




  From: +17067732155

  I got to pick up a few more dollars on one, and it's sowed up-gone n my ppl working on the
  other one we live in the same neighborhood
  Status: Read

                                                                       12/19/2020 12:27:43 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                        To: +17067732155

                                                        Ok my people in Augusta will meet you and grab the bread you got

                                                            Participant                           Delivered                Read          Played
                                                            +17067732155


                                                        Status: Sent

                                                                                                                       12/19/2020 12:42:28 PM(UTC-6)


                                                      Source Extraction:
                                                      Advanced Logical




                                                          To: 7067732155

                                                          I got to pull in wat you got right now to keep confusion down

                                                              Participant                          Delivered               Read          Played
                                                              7067732155


                                                          Status: Sent

                                                                                                                           12/19/2020 5:13:12 PM(UTC-6)


                                                        Source Extraction:
                                                        Advanced Logical




               App._0105                                                                                                          USA Prod_000233 14
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
                                                      To: 7067732155 Page 57 of 119 PageID 272

                                                                               That's me and my camp stuff bro

                                                                                   Participant          Delivered         Read      Played
                                                                                   7067732155


                                                                               Status: Sent

                                                                                                                    12/19/2020 5:15:21 PM(UTC-6)


                                                                             Source Extraction:
                                                                             Advanced Logical




  From: +17067732155

  I'm just getting to my ppl.. we gotta keep business str8
  Status: Read

                                                    12/19/2020 5:17:40 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  I understand
  Status: Read

                                    12/19/2020 5:18:08 PM(UTC-6)


Source Extraction:
Advanced Logical




                                         To: +17067732155

                                         Yea I'm in Augusta now just trying to keep shit cool I'll meet you to grab the bread so my ppl
                                         won't keep thinking crazy

                                             Participant                              Delivered           Read             Played
                                             +17067732155


                                         Status: Sent

                                                                                                                    12/19/2020 5:19:16 PM(UTC-6)


                                       Source Extraction:
                                       Advanced Logical




  From: +17067732155

  Naw we good it's just this my first run in a while and I'm just trying to capitalize on the
  blessing.. my ppl is moving but it's slower than I thought bro just give to am and I'm will be to
  you or if you can swat down here tonight
  Status: Read

                                                                         12/19/2020 5:25:50 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0106                                                                                                 USA Prod_000234 15
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                            Page 58 of 119 PageID 273
  Bro I won't let nobody run off on us bc that's not my style it's just going slow but I got other
  ppl that I'm in touch with from other situations so my line getting more open
  Status: Read

                                                                        12/19/2020 5:27:39 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                             To: +17067732155

                                                                             So wat will you have in the am

                                                                                 Participant           Delivered         Read    Played
                                                                                 +17067732155


                                                                             Status: Sent

                                                                                                                   12/19/2020 5:28:37 PM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




  From: +17067732155

  2000 and what else I can get
  Status: Read

                                     12/19/2020 5:29:35 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  Bro the line is set it's just I got to get this one out the way and we swinging
  Status: Read

                                                              12/19/2020 5:30:43 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +17067732155

  You bless me and I can't let fade out
  Status: Read

                                     12/19/2020 5:31:35 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0107                                                                                                USA Prod_000235 16
            Case 3:21-cv-01788-X Document 34-7 Filed  04/05/22
                                               To: +17067732155                              Page 59 of 119 PageID 274
                                                               I'll meet you in the morning somewhere up this way

                                                                   Participant                  Delivered           Read      Played
                                                                   +17067732155


                                                               Status: Sent

                                                                                                                 12/19/2020 6:01:23 PM(UTC-6)


                                                             Source Extraction:
                                                             Advanced Logical




  From: +17067732155

  Ok
  Status: Read

                              12/19/2020 6:07:01 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +17067732155

                                                                           You ready

                                                                              Participant            Delivered         Read    Played
                                                                              +17067732155


                                                                          Status: Sent

                                                                                                             12/20/2020 11:45:26 AM(UTC-6)


                                                                        Source Extraction:
                                                                        Advanced Logical




  From: +17067732155

  Just getting to it l
  Status: Read

                             12/20/2020 11:49:48 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +17067732155

                                                                           Wat time you bringing that

                                                                              Participant            Delivered         Read    Played
                                                                              +17067732155


                                                                          Status: Sent

                                                                                                             12/20/2020 12:51:32 PM(UTC-6)


                                                                        Source Extraction:
                                                                        Advanced Logical




               App._0108                                                                                              USA Prod_000236 17
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                        Page 60 of 119 PageID 275
  I'm getting in position, it's gon be today
  Status: Read

                                       12/20/2020 12:55:17 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +17067732155

                                                                         So you bringing that today

                                                                             Participant          Delivered         Read    Played
                                                                             +17067732155


                                                                         Status: Sent

                                                                                                              12/20/2020 1:04:42 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +17067732155

  Yea
  Status: Read

                                     12/20/2020 1:06:01 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +17067732155

                                                                         Wat time you coming

                                                                             Participant          Delivered         Read    Played
                                                                             +17067732155


                                                                         Status: Sent

                                                                                                              12/20/2020 4:19:54 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +17067732155

  I'm leaving at 630
  Status: Read

                                     12/20/2020 4:24:21 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0109                                                                                           USA Prod_000237 18
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 61 of 119 PageID 276
                                          To: +17067732155

                                                    Ok come to Milledgeville

                                                        Participant            Delivered         Read    Played
                                                        +17067732155


                                                    Status: Sent

                                                                                           12/20/2020 4:49:53 PM(UTC-6)


                                                  Source Extraction:
                                                  Advanced Logical




                                                    To: +17067732155

                                                    Have you left heading this way

                                                        Participant            Delivered         Read    Played
                                                        +17067732155


                                                    Status: Sent

                                                                                           12/20/2020 5:58:29 PM(UTC-6)


                                                  Source Extraction:
                                                  Advanced Logical




                                                    To: +17067732155

                                                    How far are you now bro

                                                        Participant            Delivered         Read    Played
                                                        +17067732155


                                                    Status: Sent

                                                                                           12/20/2020 6:51:21 PM(UTC-6)


                                                  Source Extraction:
                                                  Advanced Logical




                          To: +17067732155

                          We can't do business like that now you say you coming and do a no show Ion rock like
                          that

                              Participant                       Delivered           Read            Played
                              +17067732155


                          Status: Sent

                                                                                           12/20/2020 7:52:57 PM(UTC-6)


                        Source Extraction:
                        Advanced Logical




 App._0110                                                                                      USA Prod_000238 19
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +17067732155                                                                             Page 62 of 119 PageID 277
  Bro I'm coming, you still in Milledgeville
  Status: Read

                                       12/20/2020 8:05:41 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                              To: +17067732155

                                                                              Yea but how long

                                                                                  Participant              Delivered         Read      Played
                                                                                  +17067732155


                                                                              Status: Sent

                                                                                                                       12/20/2020 8:06:03 PM(UTC-6)


                                                                            Source Extraction:
                                                                            Advanced Logical




                                                   To: +17067732155

                                                   I don't know wat the business is with that but that having me wait for a no show

                                                       Participant                           Delivered               Read          Played
                                                       +17067732155


                                                   Status: Sent

                                                                                                                       12/21/2020 6:25:42 AM(UTC-6)


                                                 Source Extraction:
                                                 Advanced Logical




                                                                        To: +17067732155

                                                                        You don't call yourself taking nothing do you

                                                                            Participant                  Delivered          Read       Played
                                                                            +17067732155


                                                                        Status: Sent

                                                                                                                      12/21/2020 12:04:31 PM(UTC-6)


                                                                      Source Extraction:
                                                                      Advanced Logical




  From: +17067732155

  No way bro never do nothing like that just rounding up the cash taking longer than I want it
  to bro I like another bro to me never cross you that's not my DNA
  Status: Read

                                                                       12/21/2020 3:49:44 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0111                                                                                                     USA Prod_000239 20
            Case 3:21-cv-01788-X Document      34-7 Filed 04/05/22
                                 To: +17067732155                                               Page 63 of 119 PageID 278
                                              I ain't with that shit their when you tell us something you gotta do that cause we ain't with
                                              the cap

                                                 Participant                        Delivered              Read           Played
                                                 +17067732155


                                              Status: Sent

                                                                                                                  12/21/2020 5:50:19 PM(UTC-6)


                                           Source Extraction:
                                           Advanced Logical




                                             To: +17067732155

                                             Been like a week in a half on 2 and ain't nothing been turn in that ain't cool we can get rid
                                             of those

                                                 Participant                        Delivered              Read           Played
                                                 +17067732155


                                             Status: Sent

                                                                                                                  12/22/2020 9:06:44 AM(UTC-6)


                                           Source Extraction:
                                           Advanced Logical




                                                   To: +17067732155

                                                   Wat the business is with that check because we ain't got to talk about that everyday do
                                                   we

                                                      Participant                      Delivered            Read           Played
                                                      +17067732155


                                                   Status: Sent

                                                                                                                  12/22/2020 2:42:43 PM(UTC-6)


                                                Source Extraction:
                                                Advanced Logical




  From: +17067732155

  Getting it together....that's business
  Status: Read

                                     12/22/2020 3:31:53 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0112                                                                                               USA Prod_000240 21
               Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                            Page 64 of 119 PageID 279




   Extraction Report - Cellebrite Reports


Participants
+16787945978
6787945978



Conversation - Instant Messages (28)


     From: +16787945978

     Hey. Worried about you. Just wanted to check in. You okay?
     Status: Read

                                                   5/1/2020 10:55:32 AM(UTC-5)


   Source Extraction:
   Advanced Logical




                                                                        To: +16787945978

                                                                        I can't get in touch with the man who got it

                                                                            Participant                Delivered     Read     Played
                                                                            +16787945978


                                                                        Status: Sent

                                                                                                                   5/8/2020 8:45:15 AM(UTC-5)


                                                                      Source Extraction:
                                                                      Advanced Logical




     From: +16787945978

     Okay. My front wheel bearing on my car is messed up. I was calling you back to tell you they
     can't fix it til next friday. What you got on you now? I need a zip or two.
     Status: Read

                                                                          5/8/2020 9:11:08 AM(UTC-5)


   Source Extraction:
   Advanced Logical




     From: +16787945978

     You at home?
     Status: Read

                                       5/8/2020 9:43:51 AM(UTC-5)


   Source Extraction:
   Advanced Logical




                  App._0113                                                                                            USA Prod_000445          1
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 65 of 119 PageID 280
                                                     To: +16787945978

                                                                                   Not rightnow on a few I will be what's up

                                                                                       Participant           Delivered      Read     Played
                                                                                       +16787945978


                                                                                 Status: Sent

                                                                                                                         5/8/2020 9:45:18 AM(UTC-5)


                                                                               Source Extraction:
                                                                               Advanced Logical




  From: +16787945978

  Nothing. Wanted you to see my lil ride I bought.
  Status: Read

                                            5/8/2020 9:45:56 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                    To: +16787945978

                                                                    Ok come down here by bank of America on Covington hwy

                                                                        Participant                    Delivered         Read      Played
                                                                        +16787945978


                                                                    Status: Sent

                                                                                                                         5/8/2020 9:47:10 AM(UTC-5)


                                                                  Source Extraction:
                                                                  Advanced Logical




  From: +16787945978

  Where's that?
  Status: Read

                                     5/8/2020 9:48:14 AM(UTC-5)


Source Extraction:
Advanced Logical




  From: +16787945978

  Panola?
  Status: Read

                                     5/8/2020 9:49:12 AM(UTC-5)


Source Extraction:
Advanced Logical




               App._0114                                                                                                    USA Prod_000446           2
            Case 3:21-cv-01788-X Document 34-7    Filed 04/05/22
                                            To: +16787945978                                         Page 66 of 119 PageID 281
                                                             Where Covington and panola intersect across from the Texaco

                                                                 Participant                          Delivered               Read          Played
                                                                 +16787945978


                                                             Status: Sent

                                                                                                                                5/8/2020 9:49:37 AM(UTC-5)


                                                           Source Extraction:
                                                           Advanced Logical




  From: +16787945978

  Thought so. Be there in a minute.
  Status: Read

                                      5/8/2020 9:49:57 AM(UTC-5)


Source Extraction:
Advanced Logical




  From: +16787945978

  10 minutes
  Status: Read

                                      5/8/2020 5:12:09 PM(UTC-5)


Source Extraction:
Advanced Logical




  From: +16787945978

  Hi sir.
  Status: Read

                                  5/10/2020 10:31:55 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                                  To: +16787945978

                                                                                  Yes mam

                                                                                      Participant                 Delivered          Read     Played
                                                                                      +16787945978


                                                                                  Status: Sent

                                                                                                                              5/10/2020 10:32:07 AM(UTC-5)


                                                                                Source Extraction:
                                                                                Advanced Logical




               App._0115                                                                                                             USA Prod_000447         3
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +16787945978                                                                             Page 67 of 119 PageID 282
  I didn't want anything. Just checking on you making sure you hadn't disappeared again
  lol.
  Status: Read

                                                                 5/10/2020 10:33:00 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                              To: 6787945978

                                                                              Please text me.

                                                                                  Participant            Delivered        Read    Played
                                                                                  6787945978


                                                                              Status: Sent

                                                                                                                     5/10/2020 1:48:25 PM(UTC-5)


                                                                            Source Extraction:
                                                                            Advanced Logical




  From: +16787945978

  What are you up to sir?
  Status: Read

                                   5/10/2020 1:48:48 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                       To: +16787945978

                                                                       Just out taking care of stuff for Mothers day

                                                                           Participant                Delivered         Read     Played
                                                                           +16787945978


                                                                       Status: Sent

                                                                                                                     5/10/2020 1:49:26 PM(UTC-5)


                                                                     Source Extraction:
                                                                     Advanced Logical




  From: +16787945978

  Uh huh... You up here?
  Status: Read

                                   5/10/2020 1:50:47 PM(UTC-5)


Source Extraction:
Advanced Logical




               App._0116                                                                                                 USA Prod_000448           4
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 68 of 119 PageID 283
                                                      To: +16787945978

                                                                             Yes what's up

                                                                                 Participant    Delivered        Read    Played
                                                                                 +16787945978


                                                                             Status: Sent

                                                                                                            5/10/2020 1:51:12 PM(UTC-5)


                                                                           Source Extraction:
                                                                           Advanced Logical




  From: +16787945978

  I'm headed to that side of town. Hmu when you're free so I can grab a half from you.
  Status: Read

                                                                 5/10/2020 1:52:25 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                             To: 6787945978

                                                                             No

                                                                                 Participant    Delivered        Read    Played
                                                                                 6787945978


                                                                             Status: Sent

                                                                                                            5/10/2020 4:24:16 PM(UTC-5)


                                                                           Source Extraction:
                                                                           Advanced Logical




  From: +16787945978

   Hey. What's up?
  Status: Read

                                   5/15/2020 3:31:16 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                             To: 6787945978

                                                                             You tell me

                                                                                 Participant    Delivered        Read    Played
                                                                                 6787945978


                                                                             Status: Sent

                                                                                                            5/15/2020 3:37:38 PM(UTC-5)


                                                                           Source Extraction:
                                                                           Advanced Logical




               App._0117                                                                                        USA Prod_000449           5
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +16787945978                                                                              Page 69 of 119 PageID 284
  On your end tryna grab some personal smoke. You free?
  Status: Read

                                              5/25/2020 12:11:03 PM(UTC-5)


Source Extraction:
Advanced Logical




  From: +16787945978

  I'm bout to leave. I've been sitting here for 20 minutes wasting time.
  Status: Read

                                                         5/25/2020 1:17:53 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                               To: +16787945978

                                                                               Ok

                                                                                   Participant          Delivered         Read    Played
                                                                                   +16787945978


                                                                               Status: Sent

                                                                                                                     5/25/2020 1:18:43 PM(UTC-5)


                                                                             Source Extraction:
                                                                             Advanced Logical




                                                                               To: +16787945978

                                                                               What's up with you

                                                                                   Participant          Delivered         Read    Played
                                                                                   +16787945978


                                                                               Status: Sent

                                                                                                                    5/29/2020 11:44:16 AM(UTC-5)


                                                                             Source Extraction:
                                                                             Advanced Logical




               App._0118                                                                                                 USA Prod_000450           6
               Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                    Page 70 of 119 PageID 285




   Extraction Report - Cellebrite Reports


Participants
+17069980996



Conversation - Instant Messages (9)


     From: +17069980996

     Yo
     Status: Read

                                6/15/2020 10:21:48 AM(UTC-5)


   Source Extraction:
   Advanced Logical




     From: +17069980996

     This top big homie
     Status: Read

                                6/15/2020 10:21:57 AM(UTC-5)


   Source Extraction:
   Advanced Logical




                                                                 To: +17069980996

                                                                 What up

                                                                     Participant          Delivered         Read    Played
                                                                     +17069980996


                                                                 Status: Sent

                                                                                                      6/15/2020 10:22:21 AM(UTC-5)


                                                               Source Extraction:
                                                               Advanced Logical




     From: +17069980996

     U round my way
     Status: Read

                                6/15/2020 10:59:25 AM(UTC-5)


   Source Extraction:
   Advanced Logical




                  App._0119                                                                                USA Prod_000459           1
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 71 of 119 PageID 286
                                                      To: +17069980996

                                                                          Naw what up tho

                                                                              Participant       Delivered         Read    Played
                                                                              +17069980996


                                                                          Status: Sent

                                                                                                            6/15/2020 11:13:03 AM(UTC-5)


                                                                        Source Extraction:
                                                                        Advanced Logical




  From: +17069980996

  Was tryna grab a Lil sum
  Status: Read

                                  6/15/2020 11:13:24 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                          To: +17069980996

                                                                          Like how much

                                                                              Participant       Delivered         Read    Played
                                                                              +17069980996


                                                                          Status: Sent

                                                                                                            6/15/2020 11:13:50 AM(UTC-5)


                                                                        Source Extraction:
                                                                        Advanced Logical




  From: +17069980996

  My people wanted like a half bag but I'm waiting on them to get back at me before I
  make a move
  Status: Read

                                                                 6/15/2020 11:15:34 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                          To: +17069980996

                                                                          Ok let me know

                                                                              Participant       Delivered         Read    Played
                                                                              +17069980996


                                                                          Status: Sent

                                                                                                            6/15/2020 11:15:57 AM(UTC-5)


                                                                        Source Extraction:
                                                                        Advanced Logical




               App._0120                                                                                         USA Prod_000460           2
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                         Page 72 of 119 PageID 287




   Extraction Report - Cellebrite Reports


Participants
+19296022634



Conversation - Instant Messages (26)


                                                              To: +19296022634

                                                              Yo just checking to see if everything good with you

                                                                   Participant                Delivered          Read     Played
                                                                   +19296022634


                                                              Status: Sent

                                                                                                           3/20/2020 10:09:50 AM(UTC-5)


                                                            Source Extraction:
                                                            Advanced Logical




                                                    To: +19296022634

                                                    I'm out now I hope you sent them the ones I had went quick bro

                                                        Participant                    Delivered            Read         Played
                                                        +19296022634


                                                    Status: Sent

                                                                                                            3/21/2020 9:33:45 AM(UTC-5)


                                                  Source Extraction:
                                                  Advanced Logical




                                         To: +19296022634

                                         We need to put something together bro people steady hitting me I'm out of food

                                             Participant                          Delivered               Read          Played
                                             +19296022634


                                         Status: Sent

                                                                                                           3/22/2020 12:18:53 PM(UTC-5)


                                       Source Extraction:
                                       Advanced Logical




               App._0121                                                                                           USA Prod_000464        1
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +19296022634                                                                             Page 73 of 119 PageID 288
  Ok
  Status: Read

                                3/24/2020 11:30:47 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                     To: +19296022634

                                                                     Wat I need to do to get something going with you

                                                                         Participant                 Delivered          Read      Played
                                                                         +19296022634


                                                                     Status: Sent

                                                                                                                     3/26/2020 11:56:21 PM(UTC-5)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +19296022634

  Business been slow because of the lock down
  Status: Read

                                    3/26/2020 11:57:12 PM(UTC-5)


Source Extraction:
Advanced Logical




  From: +19296022634

  I can send u some gas on Monday
  Status: Read

                                3/26/2020 11:57:29 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                               To: +19296022634

                                                                               I need insides and deps

                                                                                  Participant            Delivered         Read    Played
                                                                                  +19296022634


                                                                              Status: Sent

                                                                                                                     3/26/2020 11:58:35 PM(UTC-5)


                                                                            Source Extraction:
                                                                            Advanced Logical




               App._0122                                                                                                  USA Prod_000465           2
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +19296022634                                                                                     Page 74 of 119 PageID 289
  I have deps no inside until 6 weeks
  Status: Read

                                       3/26/2020 11:59:18 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                                    To: +19296022634

                                                                                    As long as they they deps close to inside

                                                                                           Participant           Delivered        Read     Played
                                                                                           +19296022634


                                                                                    Status: Sent

                                                                                                                             3/27/2020 12:00:02 AM(UTC-5)


                                                                                  Source Extraction:
                                                                                  Advanced Logical




  From: +19296022634

  How much u will pay for deps in ur city
  Status: Read

                                       3/27/2020 12:00:39 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                        To: +19296022634

                                                                        To be honest to go fast around 14 or 15 they go fast

                                                                            Participant                     Delivered          Read       Played
                                                                            +19296022634


                                                                        Status: Sent

                                                                                                                             3/27/2020 12:02:12 AM(UTC-5)


                                                                      Source Extraction:
                                                                      Advanced Logical




  From: +19296022634

  Bro that's the price for deps here
  Status: Read

                                       3/27/2020 12:02:49 AM(UTC-5)


Source Extraction:
Advanced Logical




               App._0123                                                                                                          USA Prod_000466           3
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +19296022634                                                                                  Page 75 of 119 PageID 290
  1250-1500
  Status: Read

                                  3/27/2020 12:03:19 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                              To: +19296022634

                                                              I can do 16 but I'm trying to show you how fast I can go

                                                                  Participant                           Delivered            Read        Played
                                                                  +19296022634


                                                              Status: Sent

                                                                                                                            3/27/2020 12:04:15 AM(UTC-5)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +19296022634

  If I send my deps to u I want 2000
  Status: Read

                                  3/27/2020 12:05:03 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                                   To: +19296022634

                                                                                   Huh 2000 a piece

                                                                                       Participant              Delivered         Read     Played
                                                                                       +19296022634


                                                                                   Status: Sent

                                                                                                                            3/27/2020 12:05:41 AM(UTC-5)


                                                                                 Source Extraction:
                                                                                 Advanced Logical




  From: +19296022634

  If u buy here the price is between 1250-1500
  Status: Read

                                       3/27/2020 12:05:50 AM(UTC-5)


Source Extraction:
Advanced Logical




               App._0124                                                                                                         USA Prod_000467           4
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +19296022634                                                                       Page 76 of 119 PageID 291
  Yea 2000 because I am sending you the work
  Status: Read

                                 3/27/2020 12:06:32 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                       To: +19296022634

                                                                       For deps its 1250 or 2500

                                                                           Participant                Delivered         Read    Played
                                                                           +19296022634


                                                                       Status: Sent

                                                                                                                  3/27/2020 12:06:33 AM(UTC-5)


                                                                     Source Extraction:
                                                                     Advanced Logical




                                                                       To: +19296022634

                                                                       I meant 1250 or 1500 for deps

                                                                           Participant                Delivered         Read    Played
                                                                           +19296022634


                                                                       Status: Sent

                                                                                                                  3/27/2020 12:06:59 AM(UTC-5)


                                                                     Source Extraction:
                                                                     Advanced Logical




  From: +19296022634

  Between those price
  Status: Read

                                3/27/2020 12:07:28 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                  To: +19296022634

                                                  You told me you could do me a good price on deps and get insides 14 or 15

                                                      Participant                         Delivered          Read           Played
                                                      +19296022634


                                                  Status: Sent

                                                                                                                  3/27/2020 12:08:19 AM(UTC-5)


                                                Source Extraction:
                                                Advanced Logical




               App._0125                                                                                               USA Prod_000468           5
            Case 3:21-cv-01788-X Document     34-7 Filed 04/05/22
                                   To: +19296022634                                    Page 77 of 119 PageID 292
                                         I'm thinking about coming back over there so I can do better numbers with u I need
                                         insides

                                             Participant                         Delivered               Read           Played
                                             +19296022634


                                         Status: Sent

                                                                                                                3/29/2020 9:34:11 PM(UTC-5)


                                       Source Extraction:
                                       Advanced Logical




  From: +19296022634

  Ok
  Status: Read

                               3/30/2020 8:39:45 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                              To: +19296022634

                                                              Yo how you doing man i was thinking about coming that way

                                                                  Participant                Delivered          Read       Played
                                                                  +19296022634


                                                              Status: Sent

                                                                                                                10/4/2020 8:00:28 PM(UTC-5)


                                                            Source Extraction:
                                                            Advanced Logical




               App._0126                                                                                            USA Prod_000469           6
               Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                    Page 78 of 119 PageID 293




   Extraction Report - Cellebrite Reports


Participants
+14786962311
Quincy *
4786962311
Quincy *




Conversation - Instant Messages (19)


                                                                 To: 4786962311 Quincy

                                                                 You in the city rightnow

                                                                     Participant            Delivered      Read     Played
                                                                     4786962311 Quincy


                                                                 Status: Sent

                                                                                                        8/9/2020 8:46:15 PM(UTC-5)


                                                               Source Extraction:
                                                               Advanced Logical




     From: +14786962311 Quincy


     Status: Read

                                 8/10/2020 9:14:07 AM(UTC-5)


   Source Extraction:
   Advanced Logical




     From: +14786962311 Quincy

     Yo
     Status: Read

                                 8/10/2020 5:44:39 PM(UTC-5)


   Source Extraction:
   Advanced Logical




     From: +14786962311 Quincy

     N conyers let me sme
     Status: Read

                                 8/11/2020 4:45:24 AM(UTC-5)


   Source Extraction:
   Advanced Logical




                  App._0127                                                                                USA Prod_000470           1
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
                                          To: 4786962311 Page
                                                         Quincy 79 of 119 PageID 294

                                              Im ok you should have waited

                                                  Participant         Delivered         Read    Played
                                                  4786962311 Quincy


                                              Status: Sent

                                                                                  9/11/2020 11:22:25 PM(UTC-5)


                                            Source Extraction:
                                            Advanced Logical




                                              To: 4786962311 Quincy

                                               You may have to come up top

                                                  Participant         Delivered         Read    Played
                                                  4786962311 Quincy


                                              Status: Sent

                                                                                   9/24/2020 8:19:57 PM(UTC-5)


                                            Source Extraction:
                                            Advanced Logical




                                              To: 4786962311 Quincy

                                              Yoo

                                                  Participant         Delivered         Read    Played
                                                  4786962311 Quincy


                                              Status: Sent

                                                                                   9/26/2020 9:56:00 AM(UTC-5)


                                            Source Extraction:
                                            Advanced Logical




                                              To: 4786962311 Quincy

                                              Yooo

                                                  Participant         Delivered         Read    Played
                                                  4786962311 Quincy


                                              Status: Sent

                                                                                  9/30/2020 10:10:06 PM(UTC-5)


                                            Source Extraction:
                                            Advanced Logical




 App._0128                                                                             USA Prod_000471           2
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
                                          To: 4786962311 Page
                                                         Quincy 80 of 119 PageID 295

                                              Yooo

                                                  Participant         Delivered         Read    Played
                                                  4786962311 Quincy


                                              Status: Sent

                                                                              10/10/2020 11:55:07 PM(UTC-5)


                                            Source Extraction:
                                            Advanced Logical




                                              To: 4786962311 Quincy

                                              I got something good for you

                                                  Participant         Delivered         Read    Played
                                                  4786962311 Quincy


                                              Status: Sent

                                                                              10/11/2020 10:08:04 AM(UTC-5)


                                            Source Extraction:
                                            Advanced Logical




                                              To: 4786962311 Quincy

                                              Call me asap

                                                  Participant         Delivered         Read    Played
                                                  4786962311 Quincy


                                              Status: Sent

                                                                                  10/11/2020 1:21:25 PM(UTC-5)


                                            Source Extraction:
                                            Advanced Logical




                                              To: 4786962311 Quincy

                                              You capped out didn't you

                                                  Participant         Delivered         Read    Played
                                                  4786962311 Quincy


                                              Status: Sent

                                                                                  10/15/2020 7:32:00 PM(UTC-5)


                                            Source Extraction:
                                            Advanced Logical




 App._0129                                                                             USA Prod_000472           3
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14786962311 Quincy                                                       Page 81 of 119 PageID 296
  DNT fuck with og no moe
  Status: Read

                              10/15/2020 8:37:07 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                               To: +14786962311 Quincy

                                                               I Got Gelato 41 sir

                                                                   Participant           Delivered         Read    Played
                                                                   +14786962311 Quincy


                                                               Status: Sent

                                                                                                     10/15/2020 8:37:42 PM(UTC-5)


                                                             Source Extraction:
                                                             Advanced Logical




  From: +14786962311 Quincy

  Frosty Gelato over here
  Status: Read

                              10/15/2020 8:38:50 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                               To: +14786962311 Quincy

                                                               Yes sir Frosty

                                                                   Participant           Delivered         Read    Played
                                                                   +14786962311 Quincy


                                                               Status: Sent

                                                                                                     10/15/2020 8:39:40 PM(UTC-5)


                                                             Source Extraction:
                                                             Advanced Logical




                                                               To: +14786962311 Quincy

                                                               Yooo

                                                                   Participant           Delivered         Read    Played
                                                                   +14786962311 Quincy


                                                               Status: Sent

                                                                                                 10/16/2020 11:27:51 AM(UTC-5)


                                                             Source Extraction:
                                                             Advanced Logical




               App._0130                                                                                  USA Prod_000473           4
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page
                                          To: +14786962311 Quincy82 of 119 PageID 297

                                               Hml

                                                   Participant           Delivered         Read    Played
                                                   +14786962311 Quincy


                                               Status: Sent

                                                                                      11/7/2020 7:33:04 PM(UTC-6)


                                             Source Extraction:
                                             Advanced Logical




                                               To: +14786962311 Quincy

                                               I got a deal on some cds for you

                                                   Participant           Delivered         Read    Played
                                                   +14786962311 Quincy


                                               Status: Sent

                                                                                     11/10/2020 8:19:11 PM(UTC-6)


                                             Source Extraction:
                                             Advanced Logical




 App._0131                                                                                USA Prod_000474           5
               Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                                 Page 83 of 119 PageID 298




   Extraction Report - Cellebrite Reports


Participants
+12293280824



Conversation - Instant Messages (40)


     From: +12293280824

     Get a room and do what?
     Status: Read

                                      3/26/2020 10:33:55 AM(UTC-5)


   Source Extraction:
   Advanced Logical




     From: +12293280824

     Cause I'm not finna fuck
     Status: Read

                                      3/26/2020 10:33:58 AM(UTC-5)


   Source Extraction:
   Advanced Logical




     From: +12293280824

     And i honestly don't even feel comfortable getting a room with just you.
     Status: Read

                                                              3/26/2020 10:34:11 AM(UTC-5)


   Source Extraction:
   Advanced Logical




                                           To: +12293280824

                                           I mean you said you were tired I was just trying to do something to relax your mind fucking
                                           wasn't on my mind what type of guys you use to dealing with smh

                                               Participant                           Delivered           Read          Played
                                               +12293280824


                                           Status: Sent

                                                                                                                3/26/2020 10:35:54 AM(UTC-5)


                                         Source Extraction:
                                         Advanced Logical




                  App._0132                                                                                          USA Prod_000475           1
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +12293280824                                                                           Page 84 of 119 PageID 299
  Can you bring me some more weed? That'll relax my mind
  Status: Read

                                           3/26/2020 10:47:45 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                             To: +12293280824

                                                                             How much you trying to spend

                                                                                Participant            Delivered         Read    Played
                                                                                +12293280824


                                                                            Status: Sent

                                                                                                                   3/26/2020 10:50:54 AM(UTC-5)


                                                                          Source Extraction:
                                                                          Advanced Logical




  From: +12293280824

  Nvm
  Status: Read

                                3/26/2020 11:06:38 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                 To: +12293280824

                                                                 You talked good the other day but don't back it up

                                                                     Participant                  Delivered           Read      Played
                                                                     +12293280824


                                                                 Status: Sent

                                                                                                                   3/26/2020 11:09:58 AM(UTC-5)


                                                               Source Extraction:
                                                               Advanced Logical




  From: +12293280824

  Don't worry bout it
  Status: Read

                                3/26/2020 11:14:46 AM(UTC-5)


Source Extraction:
Advanced Logical




               App._0133                                                                                                USA Prod_000476           2
            Case 3:21-cv-01788-X Document     34-7 Filed 04/05/22
                                   To: +12293280824                                             Page 85 of 119 PageID 300
                                           Calm down I just like people that do what they say they will do it's called keeping it real

                                               Participant                                Delivered               Read             Played
                                               +12293280824


                                           Status: Sent

                                                                                                                     3/26/2020 11:34:34 AM(UTC-5)


                                         Source Extraction:
                                         Advanced Logical




  From: +12293280824

  I'm cool on everything
  Status: Read

                                3/26/2020 12:27:20 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                       To: +12293280824

                                                                       Dayumm that's how we do it we not speaking now

                                                                           Participant                  Delivered           Read       Played
                                                                           +12293280824


                                                                       Status: Sent

                                                                                                                         3/30/2020 1:41:25 PM(UTC-5)


                                                                     Source Extraction:
                                                                     Advanced Logical




  From: +12293280824

  I don't even remember you coming in
  Status: Read

                                 3/30/2020 2:13:11 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                 To: +12293280824

                                                                 I seen you clear as day looking all pretty and stuff

                                                                     Participant                      Delivered           Read        Played
                                                                     +12293280824


                                                                 Status: Sent

                                                                                                                         3/30/2020 3:56:13 PM(UTC-5)


                                                               Source Extraction:
                                                               Advanced Logical




               App._0134                                                                                                     USA Prod_000477           3
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +12293280824                                                                   Page 86 of 119 PageID 301
  Oh damn
  Status: Read

                                3/30/2020 3:56:22 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                     To: +12293280824

                                                                     When can we sit and talk again

                                                                         Participant          Delivered        Read    Played
                                                                         +12293280824


                                                                     Status: Sent

                                                                                                          3/30/2020 3:57:25 PM(UTC-5)


                                                                  Source Extraction:
                                                                  Advanced Logical




  From: +12293280824

  What you got to give? Money? Weed?
  Status: Read

                                3/30/2020 3:57:49 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                To: +12293280824

                                                                I want to give love as I did from beginning

                                                                    Participant             Delivered        Read      Played
                                                                    +12293280824


                                                                Status: Sent

                                                                                                          3/30/2020 4:01:01 PM(UTC-5)


                                                              Source Extraction:
                                                              Advanced Logical




  From: +12293280824

  I'm straight
  Status: Read

                                3/30/2020 4:06:51 PM(UTC-5)


Source Extraction:
Advanced Logical




               App._0135                                                                                      USA Prod_000478           4
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 87 of 119 PageID 302
                                                      To: +12293280824

                                                                 You can't see the best in me

                                                                     Participant         Delivered        Read    Played
                                                                     +12293280824


                                                                 Status: Sent

                                                                                                     3/30/2020 4:34:16 PM(UTC-5)


                                                               Source Extraction:
                                                               Advanced Logical




  From: +12293280824

  Get me a half for my birthday
  Status: Read

                                  4/1/2020 4:17:54 AM(UTC-5)


Source Extraction:
Advanced Logical




                                                                 To: +12293280824

                                                                 Happy birthday

                                                                     Participant         Delivered        Read    Played
                                                                     +12293280824


                                                                 Status: Sent

                                                                                                      4/1/2020 6:00:15 AM(UTC-5)


                                                               Source Extraction:
                                                               Advanced Logical




  From: +12293280824

  Thank you
  Status: Read

                                  4/1/2020 6:15:41 AM(UTC-5)


Source Extraction:
Advanced Logical




  From: +12293280824

  You&apos;re not gonna get me no weeds
  Status: Read

                                  4/1/2020 1:48:58 PM(UTC-5)


Source Extraction:
Advanced Logical




               App._0136                                                                                 USA Prod_000479           5
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +12293280824                                                                    Page 88 of 119 PageID 303
  Weed**
  Status: Read

                              4/1/2020 1:49:01 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                     To: +12293280824

                                                                     Wats up with you

                                                                         Participant                Delivered        Read    Played
                                                                         +12293280824


                                                                     Status: Sent

                                                                                                                7/20/2020 3:08:13 PM(UTC-5)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +12293280824

  What you mean
  Status: Read

                             7/20/2020 3:40:22 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                To: +12293280824

                                                I was just seeing wat you up too thats all you know who this is right

                                                    Participant                         Delivered           Read         Played
                                                    +12293280824


                                                Status: Sent

                                                                                                                7/20/2020 4:11:04 PM(UTC-5)


                                              Source Extraction:
                                              Advanced Logical




  From: +12293280824

  Yea
  Status: Read

                             7/20/2020 4:11:14 PM(UTC-5)


Source Extraction:
Advanced Logical




               App._0137                                                                                            USA Prod_000480           6
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 89 of 119 PageID 304
                                                      To: +12293280824

                                                                    Wat you got going on when you get off

                                                                        Participant                Delivered        Read    Played
                                                                        +12293280824


                                                                    Status: Sent

                                                                                                               7/20/2020 4:12:22 PM(UTC-5)


                                                                  Source Extraction:
                                                                  Advanced Logical




                                             To: +12293280824

                                             I want to take you out to eat and Top Golf sometime soon if thats cool wit you

                                                 Participant                           Delivered         Read           Played
                                                 +12293280824


                                             Status: Sent

                                                                                                               7/20/2020 5:32:33 PM(UTC-5)


                                           Source Extraction:
                                           Advanced Logical




  From: +12293280824

  I'm straight
  Status: Read

                              7/20/2020 6:07:10 PM(UTC-5)


Source Extraction:
Advanced Logical




                                            To: +12293280824

                                            Why you straight i must need to do something different then i got you talk to me

                                                Participant                        Delivered             Read          Played
                                                +12293280824


                                            Status: Sent

                                                                                                               7/20/2020 6:08:15 PM(UTC-5)


                                          Source Extraction:
                                          Advanced Logical




  From: +12293280824

  Cause i don't want to
  Status: Read

                              7/20/2020 6:08:46 PM(UTC-5)


Source Extraction:
Advanced Logical




               App._0138                                                                                           USA Prod_000481           7
            Case 3:21-cv-01788-X Document  34-7 Filed 04/05/22
                                      To: +12293280824                                  Page 90 of 119 PageID 305
                                                Ok so can we just meet one day this week and kick it you still smoke right

                                                   Participant                       Delivered          Read          Played
                                                   +12293280824


                                                Status: Sent

                                                                                                             7/20/2020 6:09:36 PM(UTC-5)


                                             Source Extraction:
                                             Advanced Logical




                                                           To: +12293280824

                                                           The only thing around right now is Og but its strong and good

                                                               Participant                Delivered        Read        Played
                                                               +12293280824


                                                           Status: Sent

                                                                                                             7/20/2020 6:16:30 PM(UTC-5)


                                                       Source Extraction:
                                                       Advanced Logical




  From: +12293280824

  Nah I'm cool
  Status: Read

                              7/20/2020 6:16:41 PM(UTC-5)


Source Extraction:
Advanced Logical




                                        To: +12293280824

                                        We must not be cool anymore i didn't come off wrong did i because i miss from seeing
                                        you

                                            Participant                           Delivered           Read           Played
                                            +12293280824


                                        Status: Sent

                                                                                                             7/20/2020 6:18:24 PM(UTC-5)


                                      Source Extraction:
                                      Advanced Logical




               App._0139                                                                                          USA Prod_000482          8
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 91 of 119 PageID 306
                                          To: +12293280824

                                             Wats up

                                                 Participant          Delivered         Read    Played
                                                 +12293280824


                                             Status: Sent

                                                                                   9/30/2020 4:22:39 PM(UTC-5)


                                           Source Extraction:
                                           Advanced Logical




                                             To: +12293280824

                                             Wats up with you today

                                                 Participant          Delivered         Read    Played
                                                 +12293280824


                                             Status: Sent

                                                                                  10/8/2020 12:34:29 PM(UTC-5)


                                           Source Extraction:
                                           Advanced Logical




 App._0140                                                                             USA Prod_000483           9
               Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                   Page 92 of 119 PageID 307




   Extraction Report - Cellebrite Reports


Participants
+19514830547



Conversation - Instant Messages (46)


     From: +19514830547

     Yoooo
     Status: Read

                                 5/4/2020 3:09:20 PM(UTC-5)


   Source Extraction:
   Advanced Logical




                                                                To: +19514830547

                                                                Who is this

                                                                    Participant          Delivered      Read     Played
                                                                    +19514830547


                                                                Status: Sent

                                                                                                     5/4/2020 3:20:09 PM(UTC-5)


                                                              Source Extraction:
                                                              Advanced Logical




     From: +19514830547

     This june
     Status: Read

                                 5/4/2020 3:20:22 PM(UTC-5)


   Source Extraction:
   Advanced Logical




     From: +19514830547

     Trailer park
     Status: Read

                                 5/4/2020 3:20:28 PM(UTC-5)


   Source Extraction:
   Advanced Logical




                  App._0141                                                                             USA Prod_000484           1
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 93 of 119 PageID 308
                                                      To: +19514830547

                                                                                  Ok what's up family

                                                                                        Participant         Delivered      Read     Played
                                                                                        +19514830547


                                                                                 Status: Sent

                                                                                                                        5/4/2020 3:21:31 PM(UTC-5)


                                                                               Source Extraction:
                                                                               Advanced Logical




  From: +19514830547

  Whatsupp bro how is you
  Status: Read

                                      5/4/2020 3:27:40 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                                  To: +19514830547

                                                                                  I been ok could be better how about you

                                                                                        Participant         Delivered      Read     Played
                                                                                        +19514830547


                                                                                 Status: Sent

                                                                                                                        5/4/2020 3:32:38 PM(UTC-5)


                                                                               Source Extraction:
                                                                               Advanced Logical




  From: +19514830547

  Shit bro im alright to dawg i got this property im working on you tryna invest?
  Status: Read

                                                              5/4/2020 3:33:42 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                     To: +19514830547

                                                                     Yes as long as the property in very good condition

                                                                         Participant                   Delivered        Read       Played
                                                                         +19514830547


                                                                     Status: Sent

                                                                                                                        5/4/2020 3:35:51 PM(UTC-5)


                                                                   Source Extraction:
                                                                   Advanced Logical




               App._0142                                                                                                   USA Prod_000485           2
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +19514830547                                                                           Page 94 of 119 PageID 309
  Yea most definitely
  Status: Read

                              5/4/2020 3:36:31 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                       To: +19514830547

                                                       I hope it's some of the higher properties around as well

                                                           Participant                           Delivered           Read      Played
                                                           +19514830547


                                                       Status: Sent

                                                                                                                     5/4/2020 3:41:13 PM(UTC-5)


                                                     Source Extraction:
                                                     Advanced Logical




                                                                            To: +19514830547

                                                                            Yes

                                                                                Participant              Delivered      Read     Played
                                                                                +19514830547


                                                                            Status: Sent

                                                                                                                     5/4/2020 3:45:18 PM(UTC-5)


                                                                          Source Extraction:
                                                                          Advanced Logical




  From: +19514830547

  Which ones?
  Status: Read

                              5/4/2020 4:27:37 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                            To: +19514830547

                                                                            Yes

                                                                                Participant              Delivered      Read     Played
                                                                                +19514830547


                                                                            Status: Sent

                                                                                                                     5/7/2020 4:31:50 PM(UTC-5)


                                                                          Source Extraction:
                                                                          Advanced Logical




               App._0143                                                                                                USA Prod_000486           3
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 95 of 119 PageID 310
                                                      To: +19514830547

                                                                    Can you talk for a min

                                                                        Participant          Delivered         Read    Played
                                                                        +19514830547


                                                                    Status: Sent

                                                                                                          6/19/2020 1:45:55 PM(UTC-5)


                                                                  Source Extraction:
                                                                  Advanced Logical




                                                                    To: +19514830547

                                                                    Yo

                                                                        Participant          Delivered         Read    Played
                                                                        +19514830547


                                                                    Status: Sent

                                                                                                          6/25/2020 6:52:34 PM(UTC-5)


                                                                  Source Extraction:
                                                                  Advanced Logical




  From: +19514830547

  Yo
  Status: Read

                                   6/25/2020 10:51:51 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                    To: +19514830547

                                                                    Tell me something

                                                                        Participant          Delivered         Read    Played
                                                                        +19514830547


                                                                    Status: Sent

                                                                                                         6/25/2020 10:52:20 PM(UTC-5)


                                                                  Source Extraction:
                                                                  Advanced Logical




  From: +19514830547

  I got some to invest in and 1 to buy ?
  Status: Read

                                    6/27/2020 2:43:46 PM(UTC-5)


Source Extraction:
Advanced Logical




               App._0144                                                                                      USA Prod_000487           4
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +19514830547                                                                               Page 96 of 119 PageID 311
  I got some to invest in and 1 to buy ?
  Status: Read

                                    6/27/2020 2:44:12 PM(UTC-5)


Source Extraction:
Advanced Logical




  From: +19514830547

  If your interested
  Status: Read

                                    6/27/2020 2:44:15 PM(UTC-5)


Source Extraction:
Advanced Logical




  From: +19514830547

  You got to come to cali so we can see it
  Status: Read

                                    6/27/2020 2:44:17 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                            To: +19514830547

                                                            That's not a problem but we need the price of the properties and if its good

                                                                Participant                   Delivered           Read        Played
                                                                +19514830547


                                                            Status: Sent

                                                                                                                     6/27/2020 2:47:58 PM(UTC-5)


                                                          Source Extraction:
                                                          Advanced Logical




                                           To: +19514830547

                                           We can't just make a trip and get over there and things are not good and if it's too high of a
                                           price we would need to know the price first

                                              Participant                              Delivered              Read         Played
                                              +19514830547


                                           Status: Sent

                                                                                                                     6/27/2020 2:49:40 PM(UTC-5)


                                       Source Extraction:
                                       Advanced Logical




               App._0145                                                                                                 USA Prod_000488           5
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 97 of 119 PageID 312
                                                      To: +19514830547

                                                                             What's up family

                                                                                Participant                 Delivered          Read      Played
                                                                                +19514830547


                                                                            Status: Sent

                                                                                                                        6/28/2020 11:20:22 AM(UTC-5)


                                                                          Source Extraction:
                                                                          Advanced Logical




  From: +19514830547

  What up bro
  Status: Read

                              6/28/2020 3:32:55 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                         To: +19514830547

                                                                         We trying to buy property to bring on back

                                                                             Participant                   Delivered           Read     Played
                                                                             +19514830547


                                                                         Status: Sent

                                                                                                                         6/28/2020 6:04:36 PM(UTC-5)


                                                                       Source Extraction:
                                                                       Advanced Logical




                                                    To: +19514830547

                                                    Is there some good property we can buy and go with it ready now

                                                        Participant                            Delivered                Read          Played
                                                        +19514830547


                                                    Status: Sent

                                                                                                                         6/28/2020 6:06:33 PM(UTC-5)


                                                  Source Extraction:
                                                  Advanced Logical




               App._0146                                                                                                       USA Prod_000489         6
            Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 98 of 119 PageID 313
                                                      To: +19514830547

                                                                       Everything must not be good over there

                                                                           Participant                Delivered      Read      Played
                                                                           +19514830547


                                                                       Status: Sent

                                                                                                                  7/3/2020 5:50:52 PM(UTC-5)


                                                                     Source Extraction:
                                                                     Advanced Logical




  From: +19514830547

  Whys that
  Status: Read

                               7/3/2020 7:24:25 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                  To: +19514830547

                                                  Because we trying to come buy some but you haven't gave us a price

                                                      Participant                         Delivered           Read          Played
                                                      +19514830547


                                                  Status: Sent

                                                                                                                  7/3/2020 7:41:32 PM(UTC-5)


                                                Source Extraction:
                                                Advanced Logical




                                                                       To: +19514830547

                                                                       Pounds

                                                                           Participant                Delivered      Read      Played
                                                                           +19514830547


                                                                       Status: Sent

                                                                                                                  7/3/2020 7:51:22 PM(UTC-5)


                                                                     Source Extraction:
                                                                     Advanced Logical




               App._0147                                                                                             USA Prod_000490           7
            Case 3:21-cv-01788-X Document 34-7 Filed To:
                                                     04/05/22
                                                         +19514830547Page 99 of 119 PageID 314

                                                                        Thats what they selling them for down here

                                                                            Participant                  Delivered          Read      Played
                                                                            +19514830547


                                                                        Status: Sent

                                                                                                                       7/3/2020 7:56:37 PM(UTC-5)


                                                                      Source Extraction:
                                                                      Advanced Logical




                                                   To: +19514830547

                                                   Yea if the price was right on your end we would fly right over there

                                                       Participant                           Delivered               Read          Played
                                                       +19514830547


                                                   Status: Sent

                                                                                                                       7/3/2020 8:15:07 PM(UTC-5)


                                                 Source Extraction:
                                                 Advanced Logical




  From: +19514830547

  Not much
  Status: Read

                               7/5/2020 11:47:39 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                           To: +19514830547

                                                                           Have those prices dropped yet out there

                                                                              Participant                 Delivered         Read      Played
                                                                              +19514830547


                                                                          Status: Sent

                                                                                                                      7/18/2020 1:48:51 PM(UTC-5)


                                                                        Source Extraction:
                                                                        Advanced Logical




  From: +19514830547

  Kinda same still
  Status: Read

                               7/18/2020 1:56:20 PM(UTC-5)


Source Extraction:
Advanced Logical




               App._0148                                                                                                    USA Prod_000491         8
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 100 of 119 PageID 315
                                                     To: +19514830547

                                                                                   Ok they got them in LA 16

                                                                                       Participant          Delivered        Read     Played
                                                                                       +19514830547


                                                                                   Status: Sent

                                                                                                                        7/18/2020 2:24:45 PM(UTC-5)


                                                                                Source Extraction:
                                                                                Advanced Logical




  From: +19514830547

  Im just telling you what they are here
  Status: Read

                                    7/18/2020 2:28:24 PM(UTC-5)


Source Extraction:
Advanced Logical




                                                                    To: +19514830547

                                                                    Ok let me know when it gets better in still with you

                                                                        Participant                   Delivered          Read       Played
                                                                        +19514830547


                                                                    Status: Sent

                                                                                                                        7/18/2020 2:30:48 PM(UTC-5)


                                                                  Source Extraction:
                                                                  Advanced Logical




                                                                                   To: +19514830547

                                                                                   Wats up family how things going

                                                                                       Participant          Delivered        Read     Played
                                                                                       +19514830547


                                                                                   Status: Sent

                                                                                                                        8/30/2020 7:47:41 PM(UTC-5)


                                                                                Source Extraction:
                                                                                Advanced Logical




               App._0149                                                                                                    USA Prod_000492           9
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 101 of 119 PageID 316
                                          To: +19514830547

                                             Yooo

                                                 Participant       Delivered         Read    Played
                                                 +19514830547


                                             Status: Unsent

                                                                                9/23/2020 3:47:12 PM(UTC-5)


                                           Source Extraction:
                                           Advanced Logical




                                             To: +19514830547

                                             Yooo

                                                 Participant       Delivered         Read    Played
                                                 +19514830547


                                             Status: Unsent

                                                                                9/23/2020 3:47:25 PM(UTC-5)


                                           Source Extraction:
                                           Advanced Logical




                                             To: +19514830547

                                             Wats up hows everything

                                                 Participant       Delivered         Read    Played
                                                 +19514830547


                                             Status: Unsent

                                                                               9/24/2020 11:39:05 AM(UTC-5)


                                           Source Extraction:
                                           Advanced Logical




                                             To: +19514830547

                                             Wats up

                                                 Participant       Delivered         Read    Played
                                                 +19514830547


                                             Status: Unsent

                                                                                9/27/2020 3:36:05 PM(UTC-5)


                                           Source Extraction:
                                           Advanced Logical




 App._0150                                                                          USA Prod_000493 10
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 102 of 119 PageID 317
                                          To: +19514830547

                                             Yooo

                                                 Participant    Delivered        Read    Played
                                                 +19514830547


                                             Status: Unsent

                                                                            9/29/2020 8:35:22 PM(UTC-5)


                                           Source Extraction:
                                           Advanced Logical




 App._0151                                                                      USA Prod_000494 11
              Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22                              Page 103 of 119 PageID 318




   Extraction Report - Cellebrite Reports


Participants
+14784566289
4784566289



Conversation - Instant Messages (76)


                                                     To: 4784566289

                                                     What that Roddy Rich song was you was playing up Lizzie Mae house

                                                         Participant                         Delivered               Read          Played
                                                         4784566289


                                                     Status: Sent

                                                                                                                       5/5/2020 2:32:33 PM(UTC-5)


                                                   Source Extraction:
                                                   Advanced Logical




     From: +14784566289

     Down below
     Status: Read

                                 5/5/2020 4:10:19 PM(UTC-5)


   Source Extraction:
   Advanced Logical




                                                                          To: 4784566289

                                                                          You home

                                                                              Participant                Delivered          Read      Played
                                                                              4784566289


                                                                          Status: Sent

                                                                                                                      5/10/2020 7:26:02 PM(UTC-5)


                                                                        Source Extraction:
                                                                        Advanced Logical




                  App._0152                                                                                                 USA Prod_000495         1
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
                                                     To: 4784566289Page 104 of 119 PageID 319

                                                              You home

                                                                  Participant        Delivered         Read    Played
                                                                  4784566289


                                                              Status: Sent

                                                                                                 11/17/2020 4:12:51 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +14784566289

  No gotcha tommorow
  Status: Read

                             11/17/2020 4:29:34 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                              To: +14784566289

                                                              You must be at work

                                                                  Participant        Delivered         Read    Played
                                                                  +14784566289


                                                              Status: Sent

                                                                                                 11/17/2020 4:31:11 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +14784566289

  Trap
  Status: Read

                             11/17/2020 4:53:58 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                              To: +14784566289

                                                              I'm at your house where you

                                                                  Participant        Delivered         Read    Played
                                                                  +14784566289


                                                              Status: Sent

                                                                                                 11/17/2020 6:46:32 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




               App._0153                                                                              USA Prod_000496           2
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 105 of 119 PageID 320
                                                     To: +14784566289

                                                                          I got something for you

                                                                              Participant           Delivered         Read    Played
                                                                              +14784566289


                                                                          Status: Sent

                                                                                                                11/17/2020 6:48:35 PM(UTC-6)


                                                                        Source Extraction:
                                                                        Advanced Logical




                                                                          To: +14784566289

                                                                          You want me to leave this somewhere

                                                                              Participant           Delivered         Read    Played
                                                                              +14784566289


                                                                          Status: Sent

                                                                                                                11/17/2020 6:53:11 PM(UTC-6)


                                                                        Source Extraction:
                                                                        Advanced Logical




  From: +14784566289

  Didn't see your message til now phone had went dead
  Status: Read

                                         11/18/2020 9:45:24 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                          To: 4784566289

                                                                          Wats up

                                                                              Participant           Delivered         Read    Played
                                                                              4784566289


                                                                          Status: Sent

                                                                                                                11/29/2020 5:14:35 PM(UTC-6)


                                                                        Source Extraction:
                                                                        Advanced Logical




  From: +14784566289

  I'm off 2moro
  Status: Read

                                11/29/2020 5:25:37 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0154                                                                                             USA Prod_000497           3
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 106 of 119 PageID 321
                                                     To: +14784566289

                                                                     Ok how. we looking

                                                                         Participant                Delivered         Read    Played
                                                                         +14784566289


                                                                     Status: Sent

                                                                                                                11/29/2020 5:26:28 PM(UTC-6)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +14784566289

  DA OG slow it's shaked up
  Status: Read

                              11/29/2020 5:28:38 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                     To: +14784566289

                                                                     Ok you got money for 1 of them

                                                                         Participant                Delivered         Read    Played
                                                                         +14784566289


                                                                     Status: Sent

                                                                                                                11/29/2020 5:29:20 PM(UTC-6)


                                                                   Source Extraction:
                                                                   Advanced Logical




  From: +14784566289

  Yes dear
  Status: Read

                              11/29/2020 5:29:46 PM(UTC-6)


Source Extraction:
Advanced Logical




                                               To: +14784566289

                                               Ok mam I'll bring another one to give you also to blend out with the other

                                                   Participant                          Delivered          Read           Played
                                                   +14784566289


                                               Status: Sent

                                                                                                                11/29/2020 5:31:02 PM(UTC-6)


                                             Source Extraction:
                                             Advanced Logical




               App._0155                                                                                             USA Prod_000498           4
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14784566289                                                                        Page 107 of 119 PageID 322
  I aiin finished
  Status: Read

                            11/29/2020 5:32:22 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                   To: +14784566289

                                                                   Ok I'll just come grab that you got for the 1

                                                                       Participant                 Delivered          Read      Played
                                                                       +14784566289


                                                                   Status: Sent

                                                                                                                  11/29/2020 5:33:16 PM(UTC-6)


                                                                 Source Extraction:
                                                                 Advanced Logical




  From: +14784566289

  U can bring DA other
  Status: Read

                            11/29/2020 5:33:44 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                           To: +14784566289

                                                           Why u tell me to come down here you ain't here fooley

                                                              Participant                      Delivered            Read       Played
                                                              +14784566289


                                                           Status: Sent

                                                                                                                  12/17/2020 5:33:02 PM(UTC-6)


                                                       Source Extraction:
                                                       Advanced Logical




                                                                            To: +14784566289

                                                                            Yoo

                                                                              Participant             Delivered         Read     Played
                                                                              +14784566289


                                                                          Status: Sent

                                                                                                               12/20/2020 11:28:46 AM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




               App._0156                                                                                               USA Prod_000499           5
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14784566289                                                                        Page 108 of 119 PageID 323
  Work
  Status: Read

                                        12/20/2020 2:05:37 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14784566289

                                                                         We still on for tomorrow

                                                                             Participant            Delivered         Read    Played
                                                                             +14784566289


                                                                         Status: Sent

                                                                                                                12/20/2020 2:10:21 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +14784566289

  Slow
  Status: Read

                                        12/20/2020 2:10:51 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                         To: +14784566289

                                                                         Huh

                                                                             Participant            Delivered         Read    Played
                                                                             +14784566289


                                                                         Status: Sent

                                                                                                                12/20/2020 2:11:14 PM(UTC-6)


                                                                       Source Extraction:
                                                                       Advanced Logical




  From: +14784566289

  I still have it it's show Xmas time
  Status: Read

                                        12/20/2020 2:12:47 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0157                                                                                             USA Prod_000500           6
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22       Page 109 of 119 PageID 324
                                          To: +14784566289

                                             I'm saying are we still meeting tomorrow

                                                 Participant         Delivered         Read     Played
                                                 +14784566289


                                             Status: Sent

                                                                                  12/20/2020 2:13:22 PM(UTC-6)


                                           Source Extraction:
                                           Advanced Logical




                                              To: +14784566289

                                              Wrong person

                                                  Participant         Delivered         Read    Played
                                                  +14784566289


                                              Status: Sent

                                                                                  12/20/2020 2:13:46 PM(UTC-6)


                                            Source Extraction:
                                            Advanced Logical




                                              To: +14784566289

                                              Ok I know who this is ok cuz

                                                  Participant         Delivered         Read    Played
                                                  +14784566289


                                              Status: Sent

                                                                                  12/20/2020 2:15:01 PM(UTC-6)


                                            Source Extraction:
                                            Advanced Logical




                                              To: +14784566289

                                              Yo

                                                  Participant         Delivered         Read    Played
                                                  +14784566289


                                              Status: Sent

                                                                                  12/22/2020 7:19:31 PM(UTC-6)


                                            Source Extraction:
                                            Advanced Logical




 App._0158                                                                             USA Prod_000501           7
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
                                                     To: 4784566289Page 110 of 119 PageID 325

                                                                           How we looking

                                                                                Participant      Delivered         Read    Played
                                                                                4784566289


                                                                           Status: Sent

                                                                                                             12/24/2020 8:30:42 PM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




  From: +14784566289

  Tryna dump it all at once but waiting on a couple calls bj
  Status: Read

                                                12/24/2020 10:53:20 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                           To: +14784566289

                                                                           Ok

                                                                                Participant      Delivered         Read    Played
                                                                                +14784566289


                                                                           Status: Sent

                                                                                                         12/24/2020 11:08:04 PM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




                                                                           To: +14784566289

                                                                           Merry Christmas cuz

                                                                                Participant      Delivered         Read    Played
                                                                                +14784566289


                                                                           Status: Sent

                                                                                                             12/25/2020 8:03:30 AM(UTC-6)


                                                                         Source Extraction:
                                                                         Advanced Logical




               App._0159                                                                                          USA Prod_000502           8
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 111 of 119 PageID 326
                                                     To: +14784566289

                                                              To you and the family

                                                                  Participant          Delivered         Read    Played
                                                                  +14784566289


                                                              Status: Sent

                                                                                                   12/25/2020 8:04:01 AM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +14784566289

  Same to you kuzzo
  Status: Read

                             12/25/2020 9:33:37 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                              To: 4784566289

                                                              How we looking

                                                                  Participant          Delivered         Read    Played
                                                                  4784566289


                                                              Status: Sent

                                                                                                   12/29/2020 7:57:42 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +14784566289

  Not good xmas
  Status: Read

                             12/29/2020 8:18:44 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                              To: +14784566289

                                                              When will you be ready

                                                                  Participant          Delivered         Read    Played
                                                                  +14784566289


                                                              Status: Sent

                                                                                                   12/29/2020 8:21:51 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




               App._0160                                                                                USA Prod_000503           9
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14784566289                                                            Page 112 of 119 PageID 327
  Soon
  Status: Read

                            12/29/2020 8:28:12 PM(UTC-6)


Source Extraction:
Advanced Logical




  From: +14784566289

  Happy new year kuzzo
  Status: Read

                              1/1/2021 6:11:52 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                             To: +14784566289

                                                             Happy New Year cuz

                                                                 Participant           Delivered        Read    Played
                                                                 +14784566289


                                                             Status: Sent

                                                                                                    1/1/2021 6:12:57 PM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




                                                             To: 4784566289

                                                             You there

                                                                 Participant           Delivered        Read    Played
                                                                 4784566289


                                                             Status: Sent

                                                                                                   1/2/2021 11:44:10 AM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




                                                             To: 4784566289

                                                             Wrong person cuz

                                                                 Participant           Delivered        Read    Played
                                                                 4784566289


                                                             Status: Sent

                                                                                                   1/2/2021 11:48:38 AM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




               App._0161                                                                               USA Prod_000504 10
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
                                                     To: 4784566289Page 113 of 119 PageID 328

                                                              Everything good wit you

                                                                  Participant           Delivered        Read    Played
                                                                  4784566289


                                                              Status: Sent

                                                                                                    1/12/2021 8:57:59 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +14784566289

  Not yet
  Status: Read

                              1/12/2021 9:00:16 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                              To: +14784566289

                                                              Ok

                                                                  Participant           Delivered        Read    Played
                                                                  +14784566289


                                                              Status: Sent

                                                                                                    1/12/2021 9:01:09 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




                                                              To: +14784566289

                                                              You good

                                                                  Participant           Delivered        Read    Played
                                                                  +14784566289


                                                              Status: Sent

                                                                                                    1/16/2021 8:38:51 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +14784566289

  Gotcha Friday homie
  Status: Read

                             1/17/2021 12:44:17 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0162                                                                                USA Prod_000505 11
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 114 of 119 PageID 329
                                                     To: +14784566289

                                                                Homie I'm your cuz mf lol

                                                                    Participant         Delivered         Read    Played
                                                                    +14784566289


                                                                Status: Sent

                                                                                                    1/17/2021 12:44:53 PM(UTC-6)


                                                              Source Extraction:
                                                              Advanced Logical




                                                                To: 4784566289

                                                                You got me ready

                                                                    Participant         Delivered         Read    Played
                                                                    4784566289


                                                                Status: Sent

                                                                                                     1/23/2021 9:09:48 AM(UTC-6)


                                                              Source Extraction:
                                                              Advanced Logical




  From: +14784566289

  Later today waitin on money
  Status: Read

                                1/23/2021 9:32:52 AM(UTC-6)


Source Extraction:
Advanced Logical




                                                                To: +14784566289

                                                                Ok because I'll be down today

                                                                    Participant         Delivered         Read    Played
                                                                    +14784566289


                                                                Status: Sent

                                                                                                     1/23/2021 9:33:41 AM(UTC-6)


                                                              Source Extraction:
                                                              Advanced Logical




               App._0163                                                                                 USA Prod_000506 12
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
                                                     To: 4784566289Page 115 of 119 PageID 330

                                                              You got some of those red thangs

                                                                  Participant        Delivered        Read    Played
                                                                  4784566289


                                                              Status: Sent

                                                                                                 1/30/2021 7:19:44 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +14784566289

  Yea
  Status: Read

                              1/30/2021 7:23:28 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                              To: +14784566289

                                                              4 for 20 right

                                                                  Participant        Delivered        Read    Played
                                                                  +14784566289


                                                              Status: Sent

                                                                                                 1/30/2021 7:34:21 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




                                                              To: +14784566289

                                                              I may get 8

                                                                  Participant        Delivered        Read    Played
                                                                  +14784566289


                                                              Status: Sent

                                                                                                 1/30/2021 7:34:45 PM(UTC-6)


                                                            Source Extraction:
                                                            Advanced Logical




  From: +14784566289

  5 for 25 for you
  Status: Read

                              1/30/2021 7:39:33 PM(UTC-6)


Source Extraction:
Advanced Logical




               App._0164                                                                             USA Prod_000507 13
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 116 of 119 PageID 331
                                                     To: +14784566289

                                                                               Ok

                                                                                  Participant       Delivered        Read    Played
                                                                                  +14784566289


                                                                               Status: Sent

                                                                                                                1/30/2021 7:42:06 PM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




  From: +14784566289

  Big strippers in town party starting in milledgeville
  Status: Read

                                                  2/1/2021 4:59:49 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                               To: +14784566289

                                                                               When

                                                                                  Participant       Delivered        Read    Played
                                                                                  +14784566289


                                                                               Status: Sent

                                                                                                                 2/1/2021 5:00:26 PM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




  From: +14784566289

  2day
  Status: Read

                                       2/1/2021 5:01:42 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                               To: +14784566289

                                                                               Oh where they from

                                                                                  Participant       Delivered        Read    Played
                                                                                  +14784566289


                                                                               Status: Sent

                                                                                                                 2/1/2021 5:13:41 PM(UTC-6)


                                                                           Source Extraction:
                                                                           Advanced Logical




               App._0165                                                                                            USA Prod_000508 14
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14784566289                                                            Page 117 of 119 PageID 332
  DA federal county
  Status: Read

                              2/1/2021 5:14:20 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                             To: +14784566289

                                                             Huh

                                                                 Participant           Delivered      Read     Played
                                                                 +14784566289


                                                             Status: Sent

                                                                                                   2/1/2021 5:15:07 PM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




                                                             To: +14784566289

                                                             You mean 12 of them

                                                                 Participant           Delivered      Read     Played
                                                                 +14784566289


                                                             Status: Sent

                                                                                                   2/1/2021 5:18:29 PM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




  From: +14784566289

  Yayy yea chump ♂
  Status: Read

                              2/1/2021 5:19:34 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                             To: +14784566289

                                                             You must be at work

                                                                 Participant           Delivered      Read     Played
                                                                 +14784566289


                                                             Status: Sent

                                                                                                   2/1/2021 7:44:37 PM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




               App._0166                                                                              USA Prod_000509 15
           Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22
  From: +14784566289                                                               Page 118 of 119 PageID 333
  Yes
  Status: Read

                              2/1/2021 8:08:48 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                To: +14784566289

                                                                Your ppl still wanted those 2 sandwiches

                                                                   Participant            Delivered       Read     Played
                                                                   +14784566289


                                                               Status: Sent

                                                                                                      2/2/2021 12:16:23 PM(UTC-6)


                                                             Source Extraction:
                                                             Advanced Logical




  From: +14784566289

  Not doz
  Status: Read

                              2/2/2021 2:21:03 PM(UTC-6)


Source Extraction:
Advanced Logical




                                                                 To: +14784566289

                                                                 Now the good ones

                                                                    Participant           Delivered        Read    Played
                                                                    +14784566289


                                                                Status: Sent

                                                                                                       2/2/2021 2:21:48 PM(UTC-6)


                                                              Source Extraction:
                                                              Advanced Logical




                                                             To: +14784566289

                                                             Let me know asap they are the ones you like

                                                                 Participant             Delivered        Read     Played
                                                                 +14784566289


                                                             Status: Sent

                                                                                                       2/2/2021 2:22:27 PM(UTC-6)


                                                           Source Extraction:
                                                           Advanced Logical




               App._0167                                                                                  USA Prod_000510 16
Case 3:21-cv-01788-X Document 34-7 Filed 04/05/22      Page 119 of 119 PageID 334
                                          To: +14784566289

                                             Don't let me know at the last min

                                                 Participant         Delivered      Read     Played
                                                 +14784566289


                                             Status: Sent

                                                                                 2/2/2021 2:59:00 PM(UTC-6)


                                           Source Extraction:
                                           Advanced Logical




 App._0168                                                                          USA Prod_000511 17
